Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 1 of 87 Page ID
                                #:38223




                           EXHIBIT 1A

        (PROPOSED SECOND AMENDED
               COMPLAINT)
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 2 of 87 Page ID
                                #:38224



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11                           UNITED STATES DISTRICT COURT
12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13 VANESSA BRYANT; B.B., a minor,               Case No. 2:20-cv-09582-JFW-E
   by her mother and general guardian,
14 VANESSA BRYANT; C.B., a minor,               SECOND AMENDED COMPLAINT
   by her mother and general guardian,          FOR:
15 VANESSA BRYANT
16              Plaintiff,                      1. Violation of Fourteenth
                                                   Amendment – 42 U.S.C. § 1983
17        vs.
                                                2. Negligence
18 COUNTY OF LOS ANGELES; LOS
   ANGELES COUNTY SHERIFF’S                     3. Negligence
19 DEPARTMENT; LOS ANGELES                      4. Invasion of Privacy
   COUNTY FIRE DEPARTMENT;
20 JOEY CRUZ; RAFAEL MEJIA;                     5. Invasion of Privacy
   MICHAEL RUSSELL; and RAUL
21 VERSALES,
                                                DEMAND FOR JURY TRIAL
22              Defendants.
23
24
25
26
27
28
                                                                Case No. 2:20-cv-09582-JFW-E
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 3 of 87 Page ID
                                #:38225



 1         Plaintiffs Vanessa Bryant, B.B., and C.B. (“Plaintiffs”), through their
 2 undersigned counsel, hereby bring this action against defendants County of Los
 3 Angeles (the “County”), the Los Angeles County Sheriff’s Department (the
 4 “Sheriff’s Department”), the Los Angeles County Fire Department (the “Fire
 5 Department,” and, collectively with the County and the Sheriff’s Department, the
 6 “Entity Defendants”), Joey Cruz, Rafael Mejia, Michael Russell, and Raul Versales
 7 (collectively, the “Deputy Defendants,” and, collectively with the County, the
 8 Sheriff’s Department, and the Fire Department, the “Defendants”) seeking damages
 9 to remedy violations of rights under the United States Constitution and for
10 negligence and invasion of privacy pursuant to California law. This Court has
11 subject matter jurisdiction pursuant to 28 U.S.C. sections 1331 and 1343.
12         Plaintiffs allege, on personal knowledge as to themselves and information and
13 belief as to others, as follows:
14                                     INTRODUCTION
15         1.    On the morning of Sunday, January 26, 2020, three eighth-grade girls,
16 joined by parents and coaches, left their homes in Orange County to play in a youth
17 basketball tournament in Thousand Oaks. Making their way by helicopter, they
18 encountered dense fog. Rather than land or turn around, the pilot pushed into the
19 fog and became disoriented. The helicopter descended rapidly and crashed into the
20 foothills of the Santa Monica Mountains, killing everyone onboard. Vanessa
21 Bryant’s thirteen year-old daughter, Gianna Bryant, and husband of nearly twenty
22 years, Kobe Bryant, were among those who died.
23         2.    In the aftermath of the crash, several of the victims’ family members
24 gathered at the L.A. County Sheriff’s station in Lost Hills, devastated and
25 distraught. Sheriff Alex Villanueva met with them and assured Mrs. Bryant that his
26 deputies were securing the crash site. Based on a leak by law enforcement, the
27 gossip and celebrity news site TMZ had reported that Kobe, a singular figure in
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                                                                   Case No. 2:20-cv-09582-JFW-E
                                      SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 4 of 87 Page ID
                                #:38226



 1 Southern California culture and a hero to millions around the world, had died, and
 2 onlookers were flocking to the accident scene.
 3         3.     But the biggest threat to the sanctity of the victims’ remains proved to
 4 be the Sheriff’s Department itself. Faced with a scene of unimaginable loss,
 5 Sheriff’s Department personnel abused their access to the crash site by taking and
 6 sharing gratuitous photos of the dead children, parents, and coaches. As the
 7 Sheriff’s Department would later admit, there was no investigatory reason for
 8 Department personnel to take pictures of the victims’ remains.
 9         4.     Within forty-eight hours, at least ten members of the Department
10 obtained and possessed images of the victims’ remains on their personal cell phones
11 without any legitimate reason for having them. The gratuitous images also became
12 a subject of gossip within the Department, as deputies shared them in settings that
13 had nothing to do with investigating the accident. One deputy even showed off
14 photos of the victims at a bar, identifying one of the individuals depicted as Kobe
15 Bryant and bragging about how he had been at the crash site. Shocked and appalled,
16 one of the bar patrons filed a written complaint with the Sheriff’s Department.
17         5.     Upon learning that his deputies had taken and shared the gratuitous
18 photos, which plainly violated the victims’ families’ constitutional rights to control
19 images of their loved ones’ remains, Sheriff Villanueva did not inform the victims’
20 families, initiate an internal affairs investigation, or inspect the deputies’ phones to
21 determine whether and how the photos had been shared. He instead directed a
22 cover-up, summoning the deputies to the Lost Hills station and telling them that, if
23 they deleted the photos, they would face no discipline. The deputies purported to
24 accept the Sheriff’s offer, receiving a free pass in exchange for destroying evidence
25 of their misconduct.
26         6.     For one month, the Department’s cover-up worked. But on February
27 27 and 28, 2020, the Los Angeles Times reported on the deputies’ photos and the
28 Department’s effort to hide its wrongdoing. Following the reports, Sheriff

                                              -2-
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 5 of 87 Page ID
                                #:38227



 1 Villanueva admitted that his deputies took “illicit photos” of the victims’ remains
 2 and that he informally ordered their destruction to avoid the “usual routine” of a
 3 formal investigation in which everyone “lawyers up.”
 4         7.    Following the Los Angeles Times reports, other news outlets began
 5 reporting that the misconduct was not limited to the Sheriff’s Department—Fire
 6 Department personnel had taken and shared improper photos of the victims’ remains
 7 as well. Like the Sheriff’s Department, the Fire Department had been aware of the
 8 egregious conduct for several weeks and responded by directing employees to
 9 destroy evidence of their wrongdoing without ever informing the victims’ families.
10         8.    Devastated by these reports, Mrs. Bryant privately sought information
11 from the Sheriff’s Department and Fire Department to assess whether she should
12 brace for pictures of her loved ones’ remains to surface on the internet. Mrs. Bryant
13 asked the departments to explain the steps they had taken to determine the scope of
14 the misconduct and ensure that all photos of the crash site had been secured. Both
15 responded that they needed extra time to respond due to the “unusual circumstance”
16 of needing to consult documents, then sent letters in which they refused to respond
17 to all but one of Mrs. Bryant’s questions and asserted that they had no legal
18 obligation to assist.
19         9.    The Sheriff’s and Fire Departments’ outrageous actions have and will
20 cause Plaintiffs severe emotional distress and compound the trauma of losing Kobe
21 and Gianna. Mrs. Bryant feels ill at the thought that sheriff’s deputies, firefighters,
22 and members of the public have gawked at gratuitous images of her deceased
23 husband and child, and she lives in fear that she or her children will one day
24 confront horrific images of their loved ones online. Many social media users and
25 internet trolls have claimed to have seen photos of the victims’ remains, and their
26 accounts are plausible given the number of individuals who took and transmitted
27 improper photos, the ease with which cell phone photos are electronically shared
28 and saved in cloud storage, and the egregious failure to take reasonable steps to

                                              -3-
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 6 of 87 Page ID
                                #:38228



 1 prevent dissemination of the photos.
 2         10.   In taking these photographs and at several points thereafter, members
 3 of the Sheriff’s and Fire Departments have chosen to act reprehensibly, and the
 4 departments’ responses to their employees’ conduct has demonstrated that they
 5 either do not understand or do not care about the pain they have caused. This
 6 lawsuit seeks to impose accountability for that.
 7                            JURISDICTION AND VENUE
 8         11.   The County removed this action, which was commenced in the
 9 Superior Court of the State of California for the County of Los Angeles, pursuant to
10 28 U.S.C. sections 1331, 1441, and 1446. This Court has jurisdiction over this
11 action pursuant to 28 U.S.C. sections 1331 and 1343 because Plaintiffs bring a claim
12 for violation of the Fourteenth Amendment of the United States Constitution under
13 42 U.S.C. section 1983, and this Court has supplemental jurisdiction over Plaintiffs’
14 state law claims under 28 U.S.C. section 1367(a).
15         12.   Venue is proper in this District pursuant to 28 U.S.C. section 1391(b),
16 because Defendants in this action are individuals and public agencies situated in Los
17 Angeles County and because, on information and belief, all of the acts or omissions
18 giving rise to this Complaint occurred in the Central District of California.
19                                     THE PARTIES
20         13.   Plaintiffs are as follows:
21               a.     Plaintiff Vanessa Bryant, a California resident, is the wife of
22 Kobe Bryant and mother of Gianna Bryant.
23               b.     Plaintiff B.B., a minor and a California resident, is a natural
24 daughter of Kobe Bryant and Vanessa Bryant, and is a sister of Gianna Bryant.
25 Vanessa Bryant has the care, custody, and control of B.B., and is a general guardian
26 of B.B.
27               c.     Plaintiff C.B., a minor and a California resident, is a natural
28 daughter of Kobe Bryant and Vanessa Bryant, and a sister of Gianna Bryant.

                                              -4-
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 7 of 87 Page ID
                                #:38229



 1 Vanessa Bryant has the care, custody, and control of C.B., and is a general guardian
 2 of C.B.
 3        14.    Defendant County of Los Angeles is a municipal corporation duly
 4 authorized to operate under the laws of the State of California. The Los Angeles
 5 County Sheriff’s Department is a department of the County.
 6        15.    Defendant Los Angeles County Sheriff’s Department is a local
 7 government entity created under the laws of the State of California and a department
 8 of Defendant County. The Sheriff’s Department provides general law enforcement
 9 services to certain contract cities, including Calabasas, California. The
10 Department’s work is directed by, among others, Sheriff Alex Villanueva.
11        16.    Defendant Los Angeles County Fire Department is a local government
12 entity created under the laws of the State of California and a department of
13 Defendant County. The Fire Department provides fire suppression and prevention
14 services under contract with the city of Calabasas, California.
15        17.    Defendants County, Sheriff’s Department, and Fire Department are
16 “persons” subject to suit within the meaning of 42 U.S.C. § 1983. See Monell v.
17 New York Department of Social Services, 436 U.S. 658, 691 (1978).
18        18.    Pursuant to California Government Code § 815.2(a), Defendants
19 County, Sheriff’s Department, and Fire Department are liable for any and all
20 wrongful acts in violation of state law hereinafter complained of and committed by
21 their employees acting within the course and scope of their employment.
22        19.    Defendant Joey Cruz is an individual and currently a sheriff’s deputy
23 in the Los Angeles County Sheriff’s Department. Cruz is sued in his individual
24 capacity. On information and belief, Defendant Cruz is a resident of California.
25        20.    Defendant Rafael Mejia is an individual and currently a Sheriff’s
26 deputy in the Los Angeles County Sheriff’s Department. Mejia is sued in his
27 individual capacity. On information and belief, Mejia is a resident of California.
28

                                            -5-
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 8 of 87 Page ID
                                #:38230



 1        21.    Defendant Michael Russell is an individual and currently a Sheriff’s
 2 deputy in the Los Angeles County Sheriff’s Department. Russell is sued in his
 3 individual capacity. On information and belief, Russell is a resident of California.
 4        22.    Defendant Raul Versales is an individual and currently a Sheriff’s
 5 deputy in the Los Angeles County Sheriff’s Department. Versales is sued in his
 6 individual capacity. On information and belief, Versales is a resident of California.
 7                             GENERAL ALLEGATIONS
 8                Sheriff’s and Fire Department Personnel Took and
                  Shared Unnecessary Photos of the Victims’ Remains
 9
10        23.    On the morning of January 26, 2020, a helicopter carrying Kobe Bryant
11 and his thirteen-year-old daughter, Gianna, crashed into the foothills of the Santa
12 Monica Mountains near Calabasas, California. The pilot and all passengers died on
13 impact.
14      24.      The hours after the crash were filled with confusion. Mrs. Bryant
15 learned of the crash from an employee of Kobe, Inc., but was told there were
16 survivors. She then began receiving Instagram messages expressing sympathy for
17 her loss. Based on a leak by law enforcement, TMZ had reported that Kobe had died
18 in a helicopter accident. Having heard nothing from law enforcement herself, Mrs.
19 Bryant was confused and distraught. Ultimately, other news outlets confirmed that
20 Kobe and Gianna had perished in the accident.
21        25.    Paparazzi, members of the public, and a significant number of
22 unauthorized drones flocked to the crash site. The Sheriff’s Department closed
23 multiple roads and freeway off-ramps leading to the site to discourage onlookers,
24 and the Federal Aviation Administration imposed a five-mile no-fly zone overhead
25 at Mrs. Bryant’s request. An emergency ordinance prohibited unauthorized access
26 to the site, and Sheriff Villanueva announced that trespassers would be arrested and
27 charged with a misdemeanor.
28

                                            -6-
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 9 of 87 Page ID
                                #:38231



 1        26.    Meanwhile, Mrs. Bryant and other family members of the victims
 2 gathered at the nearby Sheriff’s station in Lost Hills. Mrs. Bryant spoke with
 3 Sheriff Alex Villanueva and expressed concern that the crash site was unprotected
 4 from photographers. Sheriff Villanueva assured her that his deputies were securing
 5 the scene.
 6        27.    This assurance was hollow. Notwithstanding Sheriff Villanueva’s later
 7 acknowledgement that Sheriff’s Department personnel “had no place to be taking
 8 photographs of anything,” deputies who responded to the crash scene used personal
 9 cell phones to take and share gratuitous photos of the dead children, parents, and
10 coaches. According to the Sheriff’s Department’s subsequent investigatory report,
11 one deputy in particular took between 25 and 100 photos of the crash scene on his
12 personal cell phone, many of which had no conceivable investigatory purpose and
13 were focused directly on the victims’ remains.
14        28.    Photos of the remains quickly spread within the Sheriff’s Department
15 as deputies transmitted them to one another via text message and AirDrop. Within
16 forty-eight hours, at least ten members of the Sheriff’s Department obtained and
17 possessed photos of the victims’ remains on their personal cell phones despite
18 having no legitimate governmental use for the photos. Making matters worse,
19 Sheriff’s Department personnel showed off the photos of the victims’ remains to
20 colleagues in settings that had nothing to do with investigating the crash—an
21 investigation that was being handled by the National Transportation Safety Board
22 (“NTSB”), not the Sheriff’s Department—and the photos became the subject of
23 gossip within the Department.
24        29.    Members of the Fire Department engaged in similar misconduct.
25 While working the crash site on January 26, 2020, several members of the Fire
26 Department abused their access to take graphic photos of the victims’ remains
27 without any legitimate governmental purpose. One such instance occurred at
28 approximately 2:00 p.m. on January 26, 2020—long after the downed helicopter had

                                            -7-
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 10 of 87 Page ID
                                 #:38232



  1 been identified—when a sheriff’s deputy observed a firefighter taking multiple
  2 pictures of the accident scene. As the deputy later explained to Sheriff’s
  3 Department investigators, the firefighter “wasn’t one of the first responder[s],” but
  4 rather “showed up after the fact, and then started taking pictures as well.” In
  5 addition, according to a complaint filed in Los Angeles County Superior Court in
  6 November 2020 by Tony Imbrenda, a public information officer in the Fire
  7 Department who responded to the crash scene on the day of the accident but was not
  8 involved in investigating the accident, multiple firefighters electronically
  9 transmitted photos of the crash scene to him. Based on the foregoing, Plaintiffs
10 allege that, in the hours and days that followed the crash, several members of the
11 Fire Department electronically shared and/or displayed the graphic images of their
12 loved ones’ remains to colleagues without any legitimate governmental purpose.
13                                   Deputy Rafael Mejia
14         30.    Rafael Mejia, a deputy with the Sheriff’s Department, responded to the
15 general proximity of the accident scene on January 26, 2020 and stationed himself at
16 the Department’s makeshift command post at the Los Virgenes Water District.
17 While there, Mejia obtained multiple photographs of the Bryants’ remains and
18 stored them on his personal cell phone.
19         31.    Shortly after obtaining photos of the Bryants’ remains, Mejia shared
20 them with at least two individuals without any legitimate governmental purpose.
21                a.    At some point on January 26, 2020—after Mejia and others had
22 learned that the victims of the helicopter accident included Kobe and Gianna
23 Bryant—Mejia walked 100 feet from his position at the makeshift command post to
24 chat with a female deputy who was controlling traffic in and out of the Las Virgenes
25 Water District. Mejia told the deputy that he had photos of the accident scene and,
26 for no reason other than morbid gossip, proceeded to send the photos of the Bryants’
27 remains to her personal cell phone. The deputy had no role in investigating the
28 accident or identifying those who perished, and later acknowledged in an interview

                                              -8-
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 11 of 87 Page ID
                                 #:38233



  1 with Department investigators that she had no legitimate governmental purpose for
  2 the photos. Similarly, Mejia admitted to investigators that the deputy did not need
  3 the photos for any reason and that it was inappropriate to send them to her. In
  4 explaining his actions to investigators, Mejia could only say that “curiosity got the
  5 best of [them]” and that such curiosity was “in [their] nature” as deputies.
  6               b.    At a separate point on January 26, 2020—and again, with
  7 knowledge that Kobe and Gianna Bryant were among those who perished in the
  8 crash—Mejia electronically transmitted photos of the Bryants’ remains to another
  9 deputy, Joey Cruz. Cruz had responded to the general proximity of the accident
10 scene along with Mejia, but he had no role in investigating the accident or
11 identifying those who perished. Mejia sent photos of the Bryants’ remains to Cruz’s
12 personal cell phone without any legitimate governmental purpose.
13         32.    Following the above actions, Mejia learned that a complaint had been
14 filed with the Sheriff’s Department regarding improper sharing of photos of the
15 crash victims’ remains. Mejia then negligently and/or willfully destroyed evidence
16 of his wrongdoing by deleting photos of the victims’ remains and other evidence
17 from his personal cell phone. At the time, Mejia had an obligation to preserve this
18 evidence of his wrongdoing, including any associated metadata, and, as a trained
19 law enforcement officer, knew or should have known that the evidence may be
20 relevant to future litigation or investigations. By committing this spoliation, Mejia
21 severely undermined the ability to verify any of his claims regarding his handling
22 and dissemination of the photos.
23                                    Deputy Joey Cruz
24         33.    Joey Cruz, a trainee deputy with the Sheriff’s Department, responded to
25 the general proximity of the accident scene on January 26, 2020. While there, Cruz
26 was posted at the base of the hillside, where he monitored entry to a trailhead that
27 led to the downed helicopter. At no point on the day of the accident or at any time
28 thereafter did Cruz have a role in investigating the accident or identifying those who

                                              -9-
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 12 of 87 Page ID
                                 #:38234



  1 perished. Nonetheless, at some point during his shift, Cruz obtained multiple
  2 photographs of the Bryants’ remains on his personal cell phone.
  3        34.   After obtaining photos of the Bryants’ remains, Cruz shared them with
  4 multiple individuals without any legitimate governmental purpose, including several
  5 members of the public.
  6              a.     While at the Lost Hills Sheriff’s station on the evening of
  7 January 26, 2020—long after Cruz and others had learned that the victims of the
  8 helicopter accident included Kobe and Gianna Bryant—Cruz told another deputy,
  9 Michael Russell, that he had photos of the accident scene. Russell asked to see the
10 photos, and Cruz texted photos of the Bryants’ remains to Russell’s personal cell
11 phone. There was no legitimate governmental purpose for Cruz to transmit the
12 photos to Russell because, like Cruz, Russell had no role in investigating the
13 accident or identifying those who perished.
14               b.     On January 28, 2020, while at his mother’s house in West
15 Covina, California, Cruz showed photos of the Bryants’ remains to his niece.
16 Before displaying the photos, Cruz made a crude remark about the state of the
17 victims’ remains.
18               c.     While at the Baja California Bar and Grill in Norwalk, California
19 on January 28, 2020, Cruz boasted that he had worked at the scene of the accident
20 where Kobe Bryant had died. Cruz then showed photos of the Bryants’ remains to a
21 fellow bar patron and the restaurant’s bartender, and he is seen on the bar’s security
22 camera zooming in and out of the images while displaying them to the bartender.
23 One of the photos showed the body of a girl, and Cruz remarked that another
24 showed the remains of Kobe Bryant. Shortly after seeing the photos, the bartender
25 loudly boasted to restaurant employees and patrons that he had just seen a photo of
26 Kobe Bryant’s body and described the image in graphic detail.
27         35.   Following the above actions, Cruz learned that a complaint had been
28 filed with the Sheriff’s Department regarding improper sharing of photos of the

                                             - 10 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 13 of 87 Page ID
                                 #:38235



  1 crash victims’ remains. Cruz then negligently and/or willfully destroyed evidence
  2 of his wrongdoing by deleting photos of the victims’ remains from his personal cell
  3 phone and deleting the text messages he had sent Russell that contained photos of
  4 the victims’ remains. At the time, Cruz had an obligation to preserve this evidence
  5 of his wrongdoing, including any associated metadata, and, as a trained law
  6 enforcement officer, knew or should have known that the evidence may be relevant
  7 to future litigation or investigations. By committing this spoliation, Cruz severely
  8 undermined the ability to verify any of his claims regarding his handling and
  9 dissemination of the photos.
10                                 Deputy Michael Russell
11         36.    Deputy Michael Russell responded to the general proximity of the
12 accident scene on January 26, 2020, and was staffed to a checkpoint at the base of a
13 hillside that led to the downed helicopter. Throughout the day, Russell heard
14 rumors that photos of the accident scene were circulating among other deputies, and
15 he was curious to see them himself. While at the Lost Hills Sheriff’s station that
16 evening, Russell asked Cruz to send him the photos, and Cruz sent him photos of the
17 Bryants’ remains. Russell saved the photos to an album on his personal cell phone
18 so that he did not have to keep going into the text message to view them.
19         37.    At no point did Russell play any role in investigating the accident or
20 identifying those who perished. In an interview with Department investigators,
21 Russell admitted that there was no investigative purpose for him to obtain the photos
22 and that it was inappropriate for him to take possession of them.
23         38.    Nonetheless, on or around January 28, 2020, Russell shared the photos
24 with a personal friend with whom Russell plays video games nightly. Although the
25 friend is a sheriff’s deputy, he was assigned to the Santa Clarita station, not the Lost
26 Hills station, and had no involvement whatsoever in the response to the helicopter
27 accident. In a text exchange initiated by Russell, Russell told the friend that he had
28 pictures of the accident scene. Russell then texted photos of the Bryants’ remains to

                                             - 11 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 14 of 87 Page ID
                                 #:38236



  1 his friend’s personal cell phone, noting that one of the victims depicted was Kobe
  2 Bryant. In a later interview with Department investigators, Russell’s friend
  3 indicated that one of the photos showed the remains of a child and that the remains
  4 appeared to be the primary focus of the photo.
  5        39.   Following the above actions, Russell negligently and/or willfully
  6 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains
  7 and other evidence from his personal cell phone. At the time, Russell had an
  8 obligation to preserve this evidence of his wrongdoing, including any associated
  9 metadata, and, as a trained law enforcement officer, knew or should have known
10 that the evidence may be relevant to future litigation or investigations. By
11 committing this spoliation, Russell severely undermined the ability to verify any of
12 his claims regarding his handling and dissemination of the photos.
13                                 Deputy Raul Versales
14         40.   Raul Versales, a deputy with the Sheriff’s Department, responded to
15 the general proximity of the accident scene on January 26, 2020 and stationed
16 himself at the makeshift command post established at the Los Virgenes Water
17 District. While there, Versales obtained multiple photographs of the Bryants’
18 remains, stored them on his personal cell phone, and shared them with several other
19 Department personnel, including Mejia.
20         41.   On the evening of January 26, 2020—long after Versales learned that
21 the victims of the helicopter accident included Kobe and Gianna Bryant—Versales
22 sent photos of the Bryants’ remains to a detective for the Department without any
23 legitimate governmental purpose. The detective had responded to the general
24 proximity of the accident scene earlier in the day, but had no role in investigating
25 the accident or identifying those who perished. As the detective admitted to
26 Department investigators, he did not use the photos for any official purpose and
27 there was no reason for him to receive them. As an indication of how casually the
28 photos were shared within the Department, the detective could not even identify the

                                             - 12 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 15 of 87 Page ID
                                 #:38237



  1 name of the deputy who sent him the photos during an interview with Department
  2 investigators. Following his shift on January 26, 2020, the detective asked his wife,
  3 who is not a law enforcement officer and had no reason to view the photos, whether
  4 she wanted to see the photos of the victims’ remains.
  5        42.    Following the above actions, Versales negligently and/or willfully
  6 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains
  7 and other evidence from his personal cell phone. At the time, Versales had an
  8 obligation to preserve this evidence of his wrongdoing, including any associated
  9 metadata, and, as a trained law enforcement officer, knew or should have known
10 that the evidence may be relevant to future litigation or investigations. By
11 committing this spoliation, Versales severely undermined the ability to verify any of
12 his claims regarding his handling and dissemination of the photos.
13               The Defendants Attempt a Cover-Up and Destroy Evidence
14         43.    Minutes after Cruz left the Baja California Bar and Grill on the evening
15 of January 28, 2020, the bartender approached a table of four patrons and excitedly
16 stated that a sheriff’s deputy had just shown him graphic photos of Kobe Bryant’s
17 remains. The bartender described specific characteristics of Mr. Bryant’s remains,
18 explained how the remains could be linked to Mr. Bryant, and indicated he found
19 the situation humorous. The bartender was poised to divulge additional details, but
20 the patrons expressed that they did not want to hear anything further.
21         44.    In a later interview with Department investigators, one of the patrons
22 explained that he found the situation “very, very disturbing,” such that it “bothered
23 [him] that entire night, even [on] [his] drive home.” The patron believed it was
24 “very inappropriate for that deputy to be there at that environment, showing those
25 picture to other individuals,” and the situation “did not sit well with [him] at all.”
26 Upon arriving home, the patron emailed a complaint to the Sheriff’s Department
27 while sitting in his car in his driveway: “There was a deputy at Baja California Bar
28 and Grill in Norwalk who was at the Kobe Bryant crash site showing pictures of his

                                             - 13 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 16 of 87 Page ID
                                 #:38238



  1 [i.e., Kobe Bryant’s] . . . body. He was working the day the helicopter went down
  2 and took pictures of the crash site and bodies. He is a young deputy, shaved head
  3 with tatoos [sic] on his arm. From what I know[,] [h]e’s been on the field for 4
  4 months[.]”
  5        45.    Under normal protocol, this complaint would have triggered a formal
  6 inquiry and/or an internal affairs investigation. But Sheriff Villanueva did not
  7 follow protocol. He did not conduct a standard investigation or collect, inspect, or
  8 search cell phones to determine how many photos existed, whether and how they
  9 had been transmitted, or whether they were stored on the cloud. He did not inform
10 the L.A. County Office of the Inspector General. Most importantly, he did not alert
11 the victims’ families of the misconduct or the existence of the photos.
12         46.    Instead, sometime in late January 2020, Sheriff Villanueva summoned
13 his deputies to the Lost Hills station and told them that if they “came clean” and
14 deleted the photos, they would not face any discipline. The deputies responded by
15 claiming that they had deleted the photos and, to the extent they had transmitted the
16 photos to others, those persons had also deleted them. Sheriff Villanueva abided by
17 his offer and did not discipline the deputies for violating the constitutional right of
18 the victims’ families. For nearly a month, until their hands were forced by public
19 reports about the photos, Sheriff Villanueva and the Department took no further
20 action to investigate or contain the spread of the photos.
21         47.    The above actions were taken to avoid the consequences of misconduct
22 by Department personnel or, at a minimum, in reckless disregard of the risk that
23 destruction of evidence would render a complete investigation impossible. At the
24 time that Department leadership ordered deletion of the photos without conducting
25 any meaningful investigation, the Department and the County knew or should have
26 known that the actions of Department personnel, including Cruz’s conduct at the bar
27 in Norwalk, California, constituted tortious conduct under California law and a
28 violation of the constitutional rights of the victims’ families under the United States

                                             - 14 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 17 of 87 Page ID
                                 #:38239



  1 Constitution. Hence, the Department and the County had an obligation to preserve
  2 evidence of the Department’s wrongdoing, including any associated metadata, and,
  3 as trained law enforcement officers, Department leadership knew or should have
  4 known that the evidence may be relevant to future litigation and investigations.
  5                             The Misconduct Is Exposed
  6        48.   On February 27 and 28, 2020, the Los Angeles Times reported that
  7 several sheriff’s deputies had taken and shared photos of the victims’ remains and
  8 that the Sheriff’s Department had been aware of the misconduct for nearly a month.
 9 Soon thereafter, the Times also exposed the Department’s attempted cover-up,
10 reporting that it “tried to keep a lid on the episode instead of following normal
11 investigative protocols.” Around the same time, it was reported that Fire
12 Department personnel were sharing graphic photos of the victims’ remains and that
13 the Department responded by telling its members to destroy the photos.
14       49. In an interview with the Los Angeles Times on February 26, 2020,
15 Captain Jorge Valdez stated that he was “unaware of any complaint” regarding
16 crash-scene photos and that “there was no order given to delete any photographs.”
17 Both statements were false. Valdez was personally involved in responding to the
18 citizen complaint, having spoken to the complainant himself, and Sheriff Villanueva
19 has since made numerous admissions about deputies taking photos of the victims’
20 remains and his orders to destroy them without any meaningful investigation.
21         50.   Through statements made by Sheriff Alex Villanueva in his official
22 capacity, the Sheriff’s Department and the County have admitted the facts showing
23 their tortious conduct and violation of Plaintiffs’ constitutional rights.
24               a.     In media appearances in late February and early March 2020,
25 Sheriff Villanueva admitted that at least eight deputies took and/or shared photos of
26 the victims’ remains and acknowledged that the conduct was “disgusting,” “wildly
27 inappropriate,” “inexcusable,” and “unconscionable.” Sheriff Villanueva further
28 admitted that the improper photos “harm[ed] people [who] have suffered a tragedy

                                             - 15 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 18 of 87 Page ID
                                 #:38240



  1 already” by creating the possibility of “a public display of their loved ones’
  2 remains.”
  3               b.    Sheriff Villanueva has also admitted that the photos of the
  4 victims’ bodies were not taken for any law enforcement purpose. In response to
  5 questions from reporters on March 2, 2020, Sheriff Villanueva admitted: “[I]n this
  6 type of scene, which is an accident, there’s only two groups of people that should be
  7 taking photos: that is the NTSB and the coroner’s office. No one else has . . . any
  8 reason to take any photos . . . Anybody outside of [the NTSB and coroner’s office]
  9 would be unauthorized. It’d be illicit photos.” In another interview the same day,
10 Sheriff Villanueva admitted: “[T]he deputies had no place to be taking any
11 photographs of anything. Only, in this case, it would have been NTSB
12 investigators, coroner’s investigators, and that’s about it. Nobody else.”
13                c.    The Sheriff’s Department has also admitted to destroying
14 evidence of the unlawful photos. In an interview with NBC-4 Los Angeles on
15 March 2, 2020, Sheriff Villanueva stated that he learned within days of the crash
16 that a trainee deputy had allegedly showed off crash-scene photos at a bar and, in
17 response, the Department ordered the trainee and seven other deputies to delete the
18 photos. Villanueva stated that his “number one priority” was to “make sure those
19 photos no longer existed.” According to Villanueva, the Department “identified
20 what we thought were the eight individuals” who took the images and “they deleted
21 all the pictures they had, and they acknowledged that, if they transmitted them, that
22 they were deleted.”
23    The Sheriff’s and Fire Departments Knew or Should Have Known That First
24    Responders Taking Photos of Human Remains Is a Long-Standing Problem
25         51.    On and before the date of the helicopter crash, the Sheriff’s Department
26 knew that unnecessarily taking, possessing, and sharing photos of victims’ remains
27 had been a long-running problem for law enforcement. Addressing reporters on
28 March 2, 2020, Sheriff Villanueva stated: “[U]nfortunately, ever since they invented

                                             - 16 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 19 of 87 Page ID
                                 #:38241



  1 the Polaroid camera, this has been a problem in law enforcement across the nation,
  2 probably across the world, because it just makes it so much easier. And then
  3 there’s—there’s cops—they keep death books, for example, where . . . they have
  4 photos from crime scenes throughout their careers.” In an interview with the Los
  5 Angeles Times on February 26, 2020, Sheriff Villanueva exhibited similar awareness
  6 of the problem: “Every police department struggles with the same thing, where
  7 people take photos and they’re not evidence . . . So that’s a practice we have to
  8 make sure that everyone walks away, and there is no evidence other than the official
  9 photos of evidence that are taken for criminal purposes.”
10         52.    In addition, the Sheriff’s and Fire Departments knew prior to the
11 helicopter crash that government employees abusing access to celebrity-related
12 information has long been a problem in Los Angeles. Examples include a sheriff’s
13 deputy unlawfully leaking the arrest report of a prominent actor and the Los Angeles
14 Police Department improperly disclosing photos of a famous recording artist
15 depicting injuries from a domestic assault. With respect to the helicopter crash,
16 Sheriff Villanueva has acknowledged that the involvement of a celebrity like Kobe
17 Bryant, a singular figure in Southern California culture and a hero to millions
18 around the world, creates “much more interest” among deputies.
19         53.    Notwithstanding the above knowledge and his assurances to Mrs.
20 Bryant, Sheriff Villanueva said nothing in his briefings with first responders at the
21 accident scene regarding photography or respecting privacy.
22    The Sheriff’s and Fire Departments Had No Policies to Prevent Violations of
23   the Constitutional Right to Control the Death Images of Deceased Loved Ones
24         54.    Since at least 2012, it has been clear in the Ninth Circuit that
25 individuals have a substantive due process right under the United States Constitution
26 to control the death images and physical remains of deceased family members. See
27 Marsh v. Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). Nonetheless, and
28 despite the Department’s awareness that improper death images are “a problem in

                                              - 17 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 20 of 87 Page ID
                                 #:38242



  1 law enforcement across the nation,” neither the Sheriff’s Department nor the Fire
  2 Department had a policy at the time of the accident regarding the taking or sharing
  3 of photos of human remains.
  4        55.    Following the Los Angeles Times reports, the Sheriff’s Department
  5 issued a statement that the allegations regarding the accident-scene photos “are
  6 currently under investigation, as are the effectiveness of existing policies and
  7 procedures.” (Exhibit 1.) Days later, in a letter to the L.A. County Inspector
  8 General, Sheriff Villanueva admitted: “It is evident our photograph policy is
  9 deficient and this incident has identified a need for me to direct the creation of a new
10 policy.” Similarly, in an interview with NBC-4 in March 2020, Sheriff Villanueva
11 stated that the Department was “creating new [policies] that are very specific, with
12 teeth in ‘em, up to and including a penalty of discharge for violation of these
13 policies.”
14         56.    In the following months, the Sheriff’s Department added an entirely
15 new section to its Manual of Policies and Procedures, titled:
16 “Photographs/Recordings at Scenes Where Human Remains Are Present.” (Exhibit
17 2.) The new policy dictates that, “[i]n order to preserve the dignity and privacy of
18 the deceased and their families, scenes where human remains are present shall only
19 be photographed/recorded by Scientific Services Bureau or the Department of
20 Medical Examiner (DME) personnel.” (Ex. 2 at 1.) The new policy further
21 provides: “Any photograph, recording, or record produced by a Department member
22 . . . shall be considered the sole property of the Department” and “[a]ny
23 unauthorized release or sharing is strictly prohibited.” (Ex. 2 at 1.)
24         57.    In interviews with Sheriff’s Department investigators regarding the
25 improper photos, personnel throughout the chain of command confirmed that the
26 Sheriff’s Department had no clear policy and had provided no training or instruction
27 regarding photographs of human remains prior to the accident.
28

                                              - 18 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 21 of 87 Page ID
                                 #:38243



  1               a.    Numerous deputies who responded to the accident scene on
  2 January 26, 2020, including Mejia, Russell, Versales, and others, told Department
  3 investigators there was no instruction or briefing on the day of the accident
  4 regarding photography of the crash site or human remains.
  5               b.    Although many of the Sheriff’s Department personnel who
  6 obtained photos of the victims’ remains were in the midst of training to become
  7 sheriff’s deputies, had recently completed such training, or were themselves training
  8 officers, none demonstrated any awareness of a Department policy regarding the
  9 propriety of taking, possessing, or sharing photos of human remains, nor did they
10 report having received any training on the subject prior to the Los Angeles Times
11 reports in February 2020.
12                c.    A captain for the Sheriff’s Department who was the senior-most
13 supervisor at the makeshift command post on the day of the accident demonstrated
14 no awareness of the Sheriff’s Department’s policy regarding use of personal cell
15 phones to capture work-related environments, telling investigators that it was
16 “absolutely” appropriate for department personnel to use personal cell phones to
17 photograph accident scenes. The captain further implied that using personal cell
18 phones to take photos of human remains would be appropriate to memorialize a
19 scene, so long as the cell phone photos are provided to the Department’s homicide
20 department. In interviews with investigators, the captain displayed no awareness of
21 any department policy related to taking, possessing, or sharing photos of human
22 remains, nor did he report having received any training on the subject.
23                d.    A sergeant for the Sheriff’s Department who was second-in-
24 command at the makeshift command post on the day of the accident told
25 investigators that, even with the benefit of hindsight, there is nothing he would do
26 differently regarding the way he supervised the deputies on the day of the accident.
27 The sergeant added that he thought that the accident scene “was handled great” by
28 the Sheriff’s Department and remarked that “it’s just one person,” presumably Cruz,

                                             - 19 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 22 of 87 Page ID
                                 #:38244



  1 who “screwed it up for everybody.” The sergeant demonstrated no awareness of the
  2 Sheriff’s Department’s policy regarding use of personal cell phones to capture
  3 work-related environments, telling investigators that he believed it was appropriate
  4 for deputies at the crash site to use their cell phones to take photos of the scene. At
  5 one point in an interview with Department investigators, the sergeant stated: “[I]f it
  6 happened again I guess I – if there was [a] policy that specifically said on how to – I
  7 don’t know. I guess how to handle any type of video or – or pictures and – then it
  8 would be brought up, but I don’t know.”
  9               e.     As of September 29, 2020, as discussed below in paragraph 70, it
10 is a crime in California for a first responder to take photos of deceased individuals
11 without a valid purpose.
12         58.    Similarly, according to a lawsuit recently filed in Los Angeles Superior
13 Court by a former Public Information Officer for the Fire Department who
14 responded to the crash scene, Tony Imbrenda, the Fire Department had no policy at
15 the time of the accident regarding photography at emergency incidents.
16    The Sheriff’s Department Failed to Train Its Employees on the Department’s
       Policy Regarding Photos of Work-Related Scenes on Personal Cell Phones
17
18         59.    In addition to failing to establish a specific policy regarding the
19 treatment and photographing of human remains, the Sheriff’s Department also did
20 not follow or enforce its policy regarding deputies’ use of personal cell phones to
21 capture work-related environments. That policy provides:
22       Members shall not use a personal cellular telephone or any other similar
         personal communication or recording device to record, store,
23       document, catalog, transmit, and/or forward any image, document,
         scene, or environment captured as a result of their employment and/or
24       while performing official Department business that is not available or
         accessible to the general public.
25
   (Exhibit 3 at 5.) According to the Sheriff’s Department’s Manual of Policies and
26
   Procedures, supervisors must investigate reports of violations of the policy and “will
27
   be held accountable for and evaluated on” their enforcement of the policy. (Ex. 3 at
28

                                              - 20 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 23 of 87 Page ID
                                 #:38245



  1 2.) Members of the Department who violate the policy “shall be subject to
  2 disciplinary action,” which could include “reprimand,” “suspension without pay,”
  3 “reduction in rank,” and/or “dismissal from the Department.” (Ex. 3 at 3-4.)
  4        60.   In direct contravention of this policy, the sergeant who was second-in-
  5 command at the Department’s command post on the day of the accident told
  6 Department investigators that the Lost Hills station had a policy and/or custom of
  7 encouraging Department personnel to photograph accident scenes using their
  8 personal cell phones so that the images could be posted on the station’s social media
  9 accounts, including Twitter and Facebook. The sergeant explained that, at the time
10 he received the call to respond to the helicopter crash, he was at the scene of an
11 automobile crash taking pictures on his personal cell phone. According to the
12 sergeant, he had taken a class regarding social media and was “told to take pictures
13 of deputies in action.” The sergeant added that the Lost Hills station “is really big
14 on tweeting stuff out” and “they’re really pushing this social media . . . showing us
15 in action or whatever.”
16         61.   Sheriff Villanueva did not discipline the deputies who took cell-phone
17 photos of the crash site and has stated publicly that the Department’s policies at the
18 time did not prohibit the deputies’ actions. These statements and actions, combined
19 with the significant number of deputies who took and/or shared cell-phone photos of
20 the accident site, demonstrate that the Department failed to adequately train,
21 supervise, and discipline its personnel regarding its policy related to the use of
22 personal cell phones to photograph work-related scenes.
23                    The Sheriff’s Department and Fire Department
                       Refuse to Provide Information to Mrs. Bryant
24
25         62.   After learning of the existence of the photos, attorneys for Mrs. Bryant

26 sent letters to the Sheriff’s and Fire Department requesting that they take immediate
27 action to secure all photos and videos of the crash in their possession, “including
28 any photos or videos in the possession of or disseminated by Sheriff’s Department

                                             - 21 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 24 of 87 Page ID
                                 #:38246



  1 personnel.” (Exhibit 4.) Mrs. Bryant further requested that the Sheriff’s
  2 Department and Fire Department conduct internal affairs investigations “to
  3 determine the extent of the unauthorized taking and dissemination of photos” and
  4 the identities of the deputies and firefighters involved. (Ex. 4 at 2, Ex. 5 at 2.)
  5        63.    On March 8, 2020, following news reports regarding the number of
  6 deputies who took improper photos, attorneys for Mrs. Bryant sent a follow up letter
  7 requesting more information about the Sheriff’s Department’s investigation of the
  8 deputies’ misconduct, including the identity of all personnel who took photos of the
  9 victims’ remains; the steps the department had taken to identify all personnel who
10 had the photos on their personal devices; the steps the department had taken to
11 determine whether and to what extent personnel who had such photos or recordings
12 shared them with other members of the department or third parties; and the steps the
13 department had taken to secure all photos or recordings of the victims’ remains in
14 the possession of its personnel. (Exhibit 6.)
15         64.    On March 26 and April 2, 2020, nearly a month after Mrs. Bryant first
16 inquired about the misconduct, an attorney for the Sheriff’s Department wrote to
17 Mrs. Bryant that the Department had no legal obligation to respond to her questions
18 and would not do so. (Exhibits 7-8.) Mrs. Bryant received a nearly identical
19 response from an attorney for the Fire Department in letters dated March 10 and 26,
20 2020. (Exhibits 9-10.)
21        The Sheriff’s Department Conducts a Belated, Deficient Investigation
22         65.    In response to public shock and outrage following the Los Angeles
23 Times reports, as well as scrutiny from the Sheriff’s Department’s Civilian
24 Oversight Board, the Department announced that it would conduct an internal affairs
25 investigation of the improper photos. In discussing his Department’s inexcusably
26 belated investigation, Sheriff Villanueva stated on March 2, 2020: “All [photos of
27 remains] that we know of that were in the possession of the eight individuals were
28 deleted, and we’re hoping that that is the outcome of this—that there is no photos to

                                              - 22 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 25 of 87 Page ID
                                 #:38247



  1 be circulated anywhere.” (Emphasis added.) Two months later, in May 2020,
  2 Sheriff Villanueva stated that the Department was “going through the final stages”
  3 of its investigation of the improper photos and, “once the information is developed
  4 and it’s done . . . we’re going to make the entire investigation public so everybody
  5 can read it for themselves.”
  6        66.    The Department has yet to deliver on Sheriff Villanueva’s promise of
  7 publicly reporting the results of the Department’s investigation, but Mrs. Bryant
  8 obtained the Department’s final investigative report via a motion to compel in
  9 January 2021. Substantively, the report reveals that the Sheriff’s Department has
10 failed to take basic steps to ensure all copies of the improper photos are tracked
11 down and sequestered.
12                a.    The Department’s interviews of the offending personnel were
13 notably brief. For example, Defendant Russell was interviewed for a mere thirty-
14 eight minutes, and another individual known to have possessed the improper photos
15 was questioned for only fourteen minutes.
16                b.    In the transcribed interviews, the Department’s investigators
17 revealed that they were unfamiliar with fundamental concepts regarding how photos
18 are stored and transmitted on cell phones. For example, during Defendant Versales’
19 interview, the Department’s lead investigator stated: “I don’t know how iPhones
20 work.” And when another officer who had received photos of the victims’ remains
21 stated in his interview that he didn’t understand how his phone worked and had “to
22 ask my kids how to do most of the stuff,” the lead investigator responded: “Right.
23 I’m the same way. I really don’t, I’m not familiar with phones like that.” Several
24 deputies told the Department’s investigators that they had transmitted the improper
25 photos to one another using iPhone’s AirDrop feature, to which the lead investigator
26 responded, “I’m not too familiar with AirDrop,” and “I’ve come to learn that
27 AirDrop is an iPhone feature? Is that exclusive to iPhone?” No apparent
28 investigative follow-up occurred.

                                             - 23 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 26 of 87 Page ID
                                 #:38248



  1              c.     Several subjects of the investigation were themselves unsure of
  2 how their cell phones operated and whether photos of the victims’ remains still
  3 remained in storage. For example, when asked whether he had checked his cloud
  4 account to determine whether the improper photos were stored there, one member of
  5 the Department who had received the photos responded: “I don’t know how to. I
  6 don’t know how to get into the cloud.” No apparent investigative follow-up
  7 occurred.
  8              d.     Indeed, at no point during the investigation did Department
  9 investigators forensically examine the phones of personnel known to have possessed
10 and/or shared photos of the crash victims’ remains using their personal cell phones.
11 Instead, the report’s conclusions rest almost entirely on unverified, unsworn
12 statements made by the offending personnel in interviews with Department
13 investigators.
14               e.     Predictably, Defendants’ earlier spoliation of evidence inhibited
15 the investigation. A large portion of the interviews involved having the witnesses
16 describe from recollection how many photos they received and what they depicted.
17 When one interview subject expressed difficulty remembering, the Department’s
18 lead investigator responded: “[T]his is what makes it difficult. We don’t have [the]
19 pictures.” Without photos and text messages to examine, and without having
20 conducted a forensic examination of the deputies’ cell phones, the Department’s
21 purported investigatory findings amount to a regurgitation of the wrongdoers’ self-
22 serving, unsworn accounts of their own conduct.
23          The Deputy Defendants Exhibit Consciousness of Guilt by Making
               False Exculpatory Statements to Department Investigators
24
25         67.   Each of the Deputy Defendants made false exculpatory statements to
26 Department investigators in the wake of the citizen complaint. Their decision to
27 hide the facts strongly suggests that their misconduct was more extensive than they
28 have admitted.

                                            - 24 -
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 27 of 87 Page ID
                                 #:38249



  1               a.    In an interview with Department investigators on March 30,
  2 2020, Defendant Mejia claimed that only one of the crash scene photos he shared
  3 contained victims’ remains. In reality, the number was at least five, as the deputy to
  4 whom Mejia sent the photos told investigators that approximately five of them
  5 showed human remains. Defendant Mejia similarly made false statements in a
  6 memo he wrote to the head of the Lost Hills station on January 30, 2020. In the
  7 memo, Mejia wrote that “[t]he purpose of me sending/receiving the [crash scene]
  8 photographs was to answer some questions regarding the color, numbers and
  9 identifying features of the aircraft as well as crash scene details.” Mejia also wrote:
10 “The photographs were immediately erased after the incident from my cell phone.”
11 Both of these statements were false. In an interview with Department investigators
12 on March 30, 2020, Mejia admitted that there was no need to send the crash scene
13 photos to another deputy, but he did so because “curiosity got the best of us.” Mejia
14 also acknowledged that he did not delete the photos until January 30, 2020—four
15 days after the accident—when a supervisor told him to report to the Lost Hills
16 station for questioning about the photos.
17                b.    In an interview with Department investigators on March 30,
18 2020, Defendant Cruz claimed that: (i) he did not show his phone to anyone other
19 than the bartender at the Baja California Bar & Grill; (ii) he never zoomed-in on any
20 of the photographs; (iii) he did not recall human remains being in any of the images
21 he showed the bartender; and (iv) he did not tell the bartender that one of the bodies
22 depicted in the photos was Kobe Bryant’s. All of these statements were false.
23 Security footage reveals Cruz showing his phone to a fellow bar patron and using
24 his fingers to zoom-in on his phone while showing the photos to the bartender. And,
25 contrary to Cruz’s claims, the bartender explained to Department investigators that
26 Cruz showed him two photos containing victims’ remains and specifically noted
27
28

                                              - 25 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 28 of 87 Page ID
                                 #:38250



  1 certain details in the picture as proof that one of them reflected Kobe Bryant’s
  2 remains.
  3               c.    In an interview with Department investigators on March 30,
  4 2020, Defendant Russell claimed that he had “no idea” whether any of the human
  5 remains in the photos belonged to Kobe Bryant. However, the deputy to whom
  6 Russell sent the photos told investigators that, when sending the photos via text,
  7 Russell stated that he believed one of the individuals depicted was Kobe Bryant.
  8 Defendant Russell similarly made false statements in a memo he wrote to the head
  9 of the Lost Hills station on January 30, 2020. In the memo, Russell wrote: “On 01-
10 26-2020, while working as unit 224T1, I shared photographs of the helicopter crash
11 crime scene with other law enforcement personnel. I received the photographs from
12 Deputy Joey Cruz . . . who was also working this incident via text. I sent two photos
13 of the aircraft crash to [a deputy] (Santa Clarita Station).” These statements implied
14 that Russell shared the photos on the day of the accident with others who were
15 working at the scene. However, Russell did not share photos with the deputy from
16 the Santa Clarita station “while working” on the day of the accident, January 26,
17 2020. Rather, Russell later admitted in an interview with Department investigators
18 that he texted photos of the victims’ remains to the deputy who works at the Santa
19 Clarita station (a personal friend of Russell’s who had no involvement in responding
20 to the crash scene) while off duty on January 28, 2020, two days after the accident.
21                d.    In a memo addressed to the head of the Lost Hills station dated
22 January 30, 2020, Defendant Versales acknowledged that he sent crash-scene photos
23 to another member of the Department but claimed that “[t]he purpose of [his]
24 sending/receiving the [crash scene] photographs was to answer some questions
25 regarding the color, numbers and identifying features of the aircraft as well as crash
26 scene details.” Versales doubled down on this position in a later interview with
27 Department investigators, stating that he shared the photos for purposes of
28 identifying the helicopter. This was false. In an interview with Department

                                             - 26 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 29 of 87 Page ID
                                 #:38251



  1 investigators, the officer to whom Versales sent the photos stated that he received
  2 them during the evening of January 26, 2020—long after the helicopter had been
  3 identified—and there was no reason for him to receive them.
  4                      The Los Angeles Times Reveals Additional
                         Details Regarding a Deputy’s Misconduct
  5
  6        68.    Although nowhere mentioned in the Department’s investigative report,
  7 in November 2020 the Los Angeles Times reported that the Sheriff’s Department had
  8 moved to discipline an unnamed deputy for broadly sharing photos of the victims’
 9 remains on his personal cell phone. The reporting cited the Sheriff’s Department
10 disciplinary summary for the third quarter of 2020, which states that a deputy
11 “[s]tored confidential photographs of a multi-agency investigation on a personal
12 cellular phone, and shared the photographs with friends, family members, and co-
13 workers on multiple occasions.”
14 The Deputy Defendants Shared Photos of the Bryants’ Remains with Multiple
      People, Including Members of the Public, Without Any Legitimate Purpose
15
          69. As detailed above, each of the Deputy Defendants (i) showed a
16
   willingness to take and/or retain possession of photos of the Bryants’ remains on
17
   their personal cell phones without any legitimate governmental purpose; (ii)
18
   demonstrated a morbid curiosity in the photos; (iii) exhibited a willingness to share
19
   the photos with others, including through electronic transmission, without any
20
   legitimate governmental purpose; (iv) displayed consciousness of guilt by making
21
   false exculpatory statements regarding the photos; and (v) destroyed evidence of
22
   their possession and sharing of the photos despite an obligation to preserve it.
23
   Based on the foregoing, Plaintiffs allege that—in addition to the specific instances
24
   of improper sharing detailed above—the Deputy Defendants each shared photos of
25
   the Bryants’ remains with multiple people, including members of the public, without
26
   any legitimate governmental purpose.
27
28

                                             - 27 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 30 of 87 Page ID
                                 #:38252



  1                       California Enacts a Criminal Law Against
                            Improper Photos of Human Remains
  2
  3        70.     In September 2020, responding to the Sheriff’s Department’s gratuitous
  4 taking and sharing of photos of the crash victims’ remains, the California state
  5 government enacted Assembly Bill 2655. See 2020 Cal. Stat. Ch. 219. Known
  6 informally as The Kobe Bryant Act of 2020, the law makes it a misdemeanor for a
  7 first responder, including a law enforcement officer, to photograph the remains of a
  8 crime or accident victim “for any purpose other than an official law enforcement
  9 purpose or a genuine public interest.” Cal. Pen. Code § 647.9(a), (c). As explained
10 by the California legislator who authored the new law, “[o]ur first responders, when
11 responding to an emergency, should not be taking very sensitive photographs . . . for
12 their own pleasure.”
13               Plaintiffs’ Have and/or Will Suffer Severe Emotional Distress
14         71.     Plaintiffs have and/or will suffer severe emotional distress from the
15 knowledge that images of their loved ones’ remains were taken and shared for the
16 perverse gratification of law enforcement officers, and Mrs. Bryant fears that she
17 and her family may confront the appalling photos at any moment on the internet.
18 This fear is eminently reasonable in light of the prevalence of cloud storage (such as
19 iCloud and Google Photos), text messaging, and social-media applications, through
20 which photos can be stored and shared almost instantaneously (and sometimes
21 inadvertently). When Mrs. Bryant sought assurances from the Sheriff’s Department
22 that it had taken reasonable measures to control the spread of the photos, including
23 whether it had “confiscated and/or inspected the electronic devices of the personnel
24 who had or have photographs of the crash scene or victims’ remains,” the
25 Department refused to offer any response whatsoever. And at no point has the
26 Department taken even the basic investigatory step of collecting a forensic image of
27 the offending individuals’ electronic devices.
28

                                              - 28 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 31 of 87 Page ID
                                 #:38253



  1        72.    Mrs. Bryant’s fear has been exacerbated by the fact that, despite
  2 knowing about the photos within days of the crash, Sheriff Villanueva took none of
  3 the steps that a reasonable supervisor (let alone a highly-trained professional
  4 investigator) would take to prevent dissemination of harmful photos in his
  5 constructive possession. As a result of Sheriff Villanueva’s offer to his deputies that
  6 they could avoid investigation and discipline by deleting the evidence of their
  7 misconduct, Mrs. Bryant must live with uncertainty regarding how many photos
  8 were taken, whether they remain stored on the cloud, whether and how they were
  9 shared via text message, email, or social media applications, and whether people to
10 whom the deputies transmitted the photos continue to possess them. Absent this
11 information, it is impossible to rule out that the photos will surface and go viral
12 online. This uncertainty has caused Mrs. Bryant severe stress and anguish.
13         73.    Mrs. Bryant’s anxiety has been reinforced by widespread discussion of
14 the photos online. In March 2020, Mrs. Bryant encountered an Instagram user who
15 stated that she had seen pictures of Kobe and Gianna’s bodies at the accident scene,
16 and numerous Twitter users made similar statements even before the Los Angeles
17 Times publicized that Department personnel had taken and shared improper photos
18 of the victims’ remains. Other online commenters, along with the National
19 Enquirer tabloid publication, have claimed that images of Kobe and Gianna’s
20 remains are being bought, shared, and/or sold on the dark web.
21         74.    These accounts are eminently plausible in light of the sheer number of
22 deputies who took and shared photos of the Bryants’ remains and the Department’s
23 grossly inadequate steps to prevent their dissemination. For the foreseeable future,
24 Mrs. Bryant and her family will almost certainly continue to encounter claims that
25 photos of their loved ones’ remains are circulating online, and they will have no way
26 of knowing whether such claims are true or false.
27         75.    Avoiding thoughts of the Sheriff’s Departments’ misconduct has been
28 impossible, as Mrs. Bryant is repeatedly reminded of it online. Online trolls have

                                             - 29 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 32 of 87 Page ID
                                 #:38254



  1 exploited the tragic circumstances and the Sheriff’s Department misconduct for the
  2 purpose of taunting and hurting Mrs. Bryant. These experiences provide a constant
  3 reminder that photos of her husband’s and daughter’s remains may be circulating in
  4 the public realm as a result of the Sheriff’s Department’s gross misconduct.
  5                     Mrs. Bryant Served a Notice of Claims in
                       Accordance with the Government Claims Act
  6
  7        76.    On May 8, 2020, pursuant to California Government Code section 900
  8 et seq., Mrs. Bryant filed a written notice of claims against the Sheriff’s Department,
  9 Sheriff Villanueva, and unknown deputies, based on the same underlying facts and
10 issues alleged in this complaint. As of this filing, the County has not substantively
11 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when
12 it will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims
13 within the time prescribed by the California Government Code constitutes a denial,
14 such that Mrs. Bryant’s claims are ripe for review by this Court.
15         77.    On July 20, 2020, pursuant to California Government Code section 900
16 et seq., Mrs. Bryant filed a written notice of claims against the Fire Department and
17 unknown members of the Fire Department, based on the same underlying facts and
18 issues alleged in this complaint. As of this filing, the County has not substantively
19 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when
20 it will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims
21 within the time prescribed by the California Government Code constitutes a denial,
22 such that Mrs. Bryant’s claims are ripe for review by this Court.
23                              FIRST CAUSE OF ACTION
24            42 U.S.C. § 1983 (Monell), Violation of Fourteenth Amendment
25
        (Against the Sheriff’s Department, the Fire Department, and the County)
26
27         78.    Plaintiffs incorporate herein and reallege the allegations in paragraphs 1

28 through 77, inclusive, as if fully set forth herein.

                                             - 30 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 33 of 87 Page ID
                                 #:38255



  1        79.    By taking and sharing photos of Kobe and Gianna Bryants’ remains
  2 without any legitimate governmental purpose, members of the Sheriff’s Department,
  3 including but not limited to the Deputy Defendants, and members of the Fire
  4 Department deprived Plaintiffs of their substantive due process right to control the
  5 physical remains, memory, and death images of their deceased family members.
  6 See Marsh v. Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). In taking these
  7 actions, members of the Sheriff’s Department and Fire Department acted in a
  8 manner that shocks the conscience and offends the community's sense of fair play
  9 and decency.
10         80.    Members of the Sheriff’s Department, including but not limited to the
11 Deputy Defendants, and members of the Fire Department were acting under color of
12 state law at the time of their actions. Sheriff’s and Fire Department personnel took
13 photos of the Bryants’ remains while in uniform, on duty, and in an area where
14 public access was prohibited and only first responders (such as Sheriff’s and Fire
15 Department personnel) were allowed. After the photos were taken, Sheriff’s and
16 Fire Department personnel possessed and shared them while in uniform and/or on
17 duty, or otherwise in connection with or by virtue of their employment with the
18 Sheriff’s or Fire Department.
19         81.    Pursuant to 42 U.S.C. § 1983, public entities are liable for
20 constitutional violations when execution of their official policy or custom deprives
21 an individual of her constitutional rights. A public entity is also liable for
22 constitutional violations when its failure to establish a policy or procedure or to
23 properly train, supervise, and/or discipline its employees amounts to deliberate
24 indifference to the rights of persons with whom its employees come into contact.
25         82.    The Sheriff’s Department, the Fire Department, and the County acted
26 with deliberate indifference to the constitutional rights of Plaintiffs and others
27 similarly situated through the conduct and omissions set forth above, which consist
28 of the following customs, policies, and/or patterns of practice:

                                             - 31 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 34 of 87 Page ID
                                 #:38256



  1              a.    Failing to adequately train and supervise Sheriff’s Department
  2 and Fire Department personnel to ensure they do not take or share photographs of
  3 human remains without any legitimate governmental purpose;
  4              b.    Failing to establish a policy or procedure addressing the
  5 treatment of human remains, including the taking or sharing of photographs of
  6 human remains without any legitimate governmental purpose;
  7              c.    Failing to adequately investigate and discipline Sheriff’s
  8 Department and Fire Department personnel who have taken and/or shared
  9 photographs of human remains without any legitimate governmental purpose.
10         83.   Given the frequency with which Sheriff’s and Fire Department
11 personnel work at crime and accident scenes involving fatalities, it was obvious that
12 some would be tempted to take photos of victims’ remains on their personal cell
13 phones. Sheriff Alex Villanueva and the Sheriff’s Department knew that some law
14 enforcement officers keep “death books” containing photos of victims’ remains and
15 that officers taking pictures for non-law-enforcement purposes is a problem “across
16 the nation.” The Sheriff’s and Fire Departments were also aware that, on account of
17 the large number of celebrities that live or work in the Los Angeles area, their
18 personnel often work at accident and crime scenes that are the subject of intense
19 public interest. Notwithstanding this knowledge and awareness, the Sheriff’s
20 Department, the Fire Department, and the County failed to establish a policy
21 regarding photographs of human remains or to train, supervise, investigate, or
22 discipline personnel related to the taking and sharing of photos of human remains
23 without any legitimate governmental purpose.
24         84.   Based on the facts set forth above, the Sheriff’s Department and Fire
25 Department were on actual and/or constructive notice that the absence of a policy
26 regarding photographs of human remains would likely result in violations of
27 community members’ constitutional rights.
28

                                            - 32 -
                                   SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 35 of 87 Page ID
                                 #:38257



  1         85.    The actions of Sheriff’s Department and Fire Department personnel,
  2 including but not limited to the Deputy Defendants, reflect the pattern of practice
  3 and/or custom of the Sheriff’s Department and Fire Department, as evidenced by the
  4 fact that the misconduct was not limited to a lone employee. Rather, multiple
  5 members of the Sheriff’s Department and Fire Department took and shared photos
  6 of the Bryants’ remains without any legitimate governmental purpose. In addition,
  7 Sheriff Villanueva, whose entire career in law enforcement has been with the
  8 Sheriff’s Department, has stated based on personal knowledge that unnecessary
  9 death images are a widespread problem in law enforcement.
10          86.    As a direct and proximate result of the Sheriff’s Department’s, Fire
11 Department’s, and the County’s failure to establish a policy regarding photographs
12 of human remains or to train, supervise, investigate, or discipline its employees
13 regarding unnecessary death images, as well as the Sheriff’s and Fire Departments’
14 pattern of practice and/or custom of unnecessarily taking and sharing death images,
15 Plaintiffs have and/or will suffer severe emotional distress in an amount to be
16 proven at trial.
17                               SECOND CAUSE OF ACTION
18
                                             Negligence
19
                                (Against the Deputy Defendants)
20
            87.    Plaintiffs incorporate herein and reallege the allegations in paragraphs 1
21
      through 86, inclusive, as if fully set forth herein.
22
            88.    Pursuant to California Government Code section 820(a), public
23
      employees are liable for injuries caused by their acts or omissions to the same extent
24
      as a private person.
25
            89.    The Deputy Defendants owed a duty to Plaintiffs to use ordinary care
26
      in their treatment of the Bryants’ physical remains, including an obligation to refrain
27
      from taking and/or sharing images of them for personal, non-law-enforcement
28

                                                - 33 -
                                       SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 36 of 87 Page ID
                                 #:38258



  1 purposes. Cal. Civ. Code § 1714. The Deputy Defendants additionally owed a duty
  2 to Plaintiffs to use ordinary care in preventing dissemination of any images of the
  3 Bryants’ remains once the images were created and/or were within their possession.
  4        90.    The Deputy Defendants breached their duties to Plaintiffs by sharing
  5 photos of the Bryants’ physical remains for personal, non-law-enforcement
  6 purposes, including by electronic transmission and with members of the public.
  7        91.    The Deputy Defendants foresaw or should have foreseen that their
  8 conduct described above would injure Plaintiffs.
  9        92.    As a direct and proximate result of the Deputy Defendants’ conduct,
10 Plaintiffs have and/or will suffer severe emotional distress in an amount to be
11 proven at trial.
12         93.    In committing the acts alleged herein, the Deputy Defendants are guilty
13 of oppression, fraud, and/or malice within the meaning of California Civil Code
14 section 3294, entitling Plaintiffs to punitive or exemplary damages in an amount
15 appropriate to punish the Doe Defendants and to make an example of them to the
16 community.
17                             THIRD CAUSE OF ACTION
18                                        Negligence
19                            (Against the Entity Defendants)
20         94.    Plaintiffs incorporate herein and reallege the allegations in paragraphs 1
21 through 93, inclusive, as if fully set forth herein.
22       95. Members of the Sheriff’s Department, including but not limited to the
23 Deputy Defendants, and members of the Fire Department owed a duty to Plaintiffs
24 to use ordinary care in their treatment of the Bryants’ physical remains, including an
25 obligation to refrain from taking and/or sharing images of them for personal, non-
26 law-enforcement purposes. Cal. Civ. Code § 1714. Members of the Sheriff’s
27 Department, including but not limited to the Deputy Defendants, and members of
28 the Fire Department also owed a duty to Plaintiffs to use ordinary care in preventing

                                             - 34 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 37 of 87 Page ID
                                 #:38259



  1 dissemination of any images of the Bryants’ remains once the images were created
  2 and/or were within their possession.
  3        96.    Multiple members of the Sheriff’s Department, including but not
  4 limited to the Deputy Defendants, breached their duties to Plaintiffs by taking and/or
  5 sharing photos of the Bryants’ physical remains for personal, non-law-enforcement
  6 purposes, including by electronic transmission and with members of the public.
  7 These members of the Sheriff’s Department foresaw or should have foreseen that
  8 their conduct would injure Plaintiffs.
  9        97.    Similarly, multiple members of the Fire Department breached their
10 duties to Plaintiffs by taking and/or sharing photos of the Bryants’ physical remains
11 without any legitimate governmental purpose. These members of the Fire
12 Department foresaw or should have foreseen that their conduct would injure
13 Plaintiffs.
14         98.    As a direct and proximate result of the conduct described above,
15 Plaintiffs have and/or will suffer severe emotional distress in an amount to be
16 proven at trial.
17         99.    Pursuant to California Government Code section 815.2, the Sheriff’s
18 Department, the Fire Department, and the County are liable for injuries proximately
19 caused by acts or omissions of their employees within the scope of their
20 employment. At all times material, the Deputy Defendants and other members of
21 the Sheriff’s Department who took and/or shared photos of the Bryants’ remains for
22 personal, non-law-enforcement purposes were employed by the Sheriff’s
23 Department and were under the Department’s direction and control when they
24 engaged in the conduct described above. Further, at all times material, members of
25 the Fire Department who took and/or shared photos of the Bryants’ remains without
26 any legitimate governmental purpose were employed by the Fire Department and
27 were under the Fire Department’s direction and control when they engaged in the
28 conduct described above. These members of the Sheriff’s and Fire Departments

                                             - 35 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 38 of 87 Page ID
                                 #:38260



  1 were able to take photos of the Bryants’ physical remains by virtue of their access to
  2 the crash site while on duty, and Sheriff’s and Fire Department personnel who
  3 shared the photos without any legitimate purpose had access to them by virtue of
  4 their employment with the Sheriff’s and Fire Departments, respectively. Hence, the
  5 actions described above were taken within the course and scope of the individuals’
  6 employment, and the Sheriff’s Department, the Fire Department, and the County are
  7 liable for their negligent and wrongful conduct.
  8                              FOURTH CAUSE OF ACTION
  9                                       Invasion of Privacy
10                                        (Against Joey Cruz)
11
             100. Plaintiffs incorporate herein and reallege the allegations in paragraphs 1
12
      through 99, inclusive, as if fully set forth herein.
13
             101. Plaintiffs have a privacy interest in the physical remains of their loved
14
      ones, Kobe and Gianna Bryant.
15
             102. Upon information and belief, Defendant Joey Cruz disclosed photos of
16
      the Bryants’ remains to multiple members of the public, both in person and
17
      electronically.
18
             103. Sharing photos of accident victims’ physical remains without any
19
      legitimate governmental purpose is offensive and objectionable to a reasonable
20
      person of ordinary sensibilities.
21
             104. At the time Defendant Cruz shared the photos of the Bryants’ remains,
22
      no photos of their remains had otherwise been made public, and details about the
23
      state of the victims’ remains were not public knowledge. Sharing the graphic facts
24
      disclosed by the photos served no legitimate public purpose.
25
             105. As a direct and proximate result of the conduct of Defendant Cruz,
26
      Plaintiffs have and/or will suffer severe emotional distress in an amount to be
27
      proven at trial.
28

                                                 - 36 -
                                       SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 39 of 87 Page ID
                                 #:38261



  1        106. Pursuant to California Government Code section 820(a), Deputy Cruz
  2 is liable for injuries caused by their acts or omissions to the same extent as a private
  3 person.
  4        107. In committing the acts alleged herein, Deputy Cruz is guilty of
  5 oppression, fraud, and/or malice within the meaning of California Civil Code
  6 section 3294, entitling Plaintiffs to punitive or exemplary damages in an amount
  7 appropriate to punish Defendant Cruz and to make an example of him to the
  8 community.
  9                             FIFTH CAUSE OF ACTION
10                                    Invasion of Privacy
11                             (Against the Entity Defendants)
12         108. Plaintiffs incorporate herein and reallege the allegations in paragraphs 1
13 through 107, inclusive, as if fully set forth herein.
14       109. Plaintiffs have a privacy interest in the physical remains of their loved
15 ones, Kobe and Gianna Bryant.
16       110. Upon information and belief, members of the Sheriff’s Department,
17 including but not limited to the Deputy Defendants, disclosed photos of the Bryants’
18 remains to multiple members of the public, both in person and electronically.
19         111. Sharing photos of accident victims’ physical remains without any
20 legitimate governmental purpose is offensive and objectionable to a reasonable
21 person of ordinary sensibilities.
22         112. At the time that members of the Sheriff’s Department, including but not
23 limited to the Deputy Defendants, shared the photos of the Bryants’ remains, no
24 photos of their remains had otherwise been made public, and details about the state
25 of the victims’ remains were not public knowledge. Sharing the graphic facts
26 disclosed by the photos served no legitimate public purpose.
27         113. As a direct and proximate result of members of the Sheriff’s
28 Department publicly disclosing photos of the Bryants’ remains without any

                                              - 37 -
                                     SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 40 of 87 Page ID
                                 #:38262



  1 legitimate governmental purpose, Plaintiffs have and/or will suffer severe emotional
  2 distress in an amount to be proven at trial.
  3        114. Pursuant to California Government Code section 815.2, the Sheriff’s
  4 Department and the County are liable for injuries proximately caused by acts or
  5 omissions of their employees within the scope of their employment. At all times
  6 material, the Deputy Defendants and other members of the Sheriff’s Department
  7 who publicly disclosed photos of the Bryants’ remains were employed by the
  8 Sheriff’s Department and were under the Department’s direction and control when
  9 they engaged in the conduct described above. These members of the Department
10 were able to take photos of Kobe and Gianna Bryant’s physical remains by virtue of
11 their access to the crash site while on duty, and Sheriff’s Department personnel who
12 shared the photos had access to them by virtue of their employment with the
13 Department. The acts of these members of the Department were committed within
14 the course and scope of their employment, and the Sheriff’s Department and County
15 are liable for their negligent and wrongful conduct.
16                                 PRAYER FOR RELIEF
17         WHEREFORE, Plaintiffs respectfully prays for the following relief:
18         1.     For compensatory damages in an amount to be proven at trial;
19         2.     For any additional general, specific, consequential, or incidental
20 damages in an amount to be proven at trial;
21         3.     For nominal damages;
22         4.     For punitive damages against the Deputy Defendants in an amount
23 appropriate to punish them and make an example of them to the community;
24         5.     For an award that Defendants pay all of Plaintiffs’ costs and attorneys’
25 fees;
26         6.     For all interest, as permitted by law; and
27         7.     For such other relief as the Court deems just and proper.
28

                                             - 38 -
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 41 of 87 Page ID
                                 #:38263



  1 DATED: February 28, 2023           Respectfully submitted,
  2                                    WILSON, SONSINI, GOODRICH & ROSATI

  3
  4
                                       By:                  /s/ Luis Li
  5                                                               LUIS LI
  6
                                       Attorneys for Plaintiffs Vanessa Bryant, B.B.,
  7                                    and C.B.
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                                          - 39 -
                                 SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 42 of 87 Page ID
                                 #:38264



  1                           DEMAND FOR JURY TRIAL
  2       Plaintiffs demand a trial by jury on all issues triable by jury.
  3
  4 DATED: February 28, 2023              Respectfully submitted,
  5                                       WILSON, SONSINI, GOODRICH & ROSATI

  6
  7
                                          By:                  /s/ Luis Li
  8                                                                  LUIS LI
  9
                                          Attorneys for Plaintiffs Vanessa Bryant, B.B.,
10                                        and C.B.
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                                                                     Case No. 2:20-cv-09582-JFW-E
                                    SECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 43 of 87 Page ID
                                 #:38265




                            EXHIBIT 1B

     (REDLINE COMPARING PROPOSED
     SECOND AMENDED COMPLAINT TO
       FIRST AMENDED COMPLAINT)
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 44 of 87 Page ID
                                 #:38266



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   Attorneys for Plaintiff Vanessa Bryant
12
                           UNITED STATES DISTRICT COURT
13
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
   VANESSA BRYANT,; B.B., a minor,        Case No. 2:20-cv-09582-JFW-E
15 by her mother and general guardian,
   VANESSA BRYANT; C.B., a minor, by FIRSTSECOND AMENDED
16 her mother and general guardian,       COMPLAINT FOR:
   VANESSA BRYANT
17
                Plaintiff,                1. Violation of Fourteenth
18                                           Amendment – 42 U.S.C. § 1983
         vs.
19                                        2. Negligence
   COUNTY OF LOS ANGELES; LOS
20 ANGELES COUNTY SHERIFF’S               3. Negligence
   DEPARTMENT; LOS ANGELES
21 COUNTY FIRE DEPARTMENT;                4. Invasion of Privacy
   JOEY CRUZ; RAFAEL MEJIA;               5. Invasion of Privacy
22 MICHAEL RUSSELL; and RAUL
   VERSALES,
23                                        DEMAND FOR JURY TRIAL
                Defendants.
24
25
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27
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                                                               Case No. 2:20-cv-09582-JFW-E
                               FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 45 of 87 Page ID
                                 #:38267



  1        PlaintiffPlaintiffs Vanessa Bryant (“Plaintiff, B.B., and C.B. (“Plaintiffs”),
  2 through hertheir undersigned counsel, hereby bringsbring this action against
  3 defendants County of Los Angeles (the “County”), the Los Angeles County Sheriff’s
  4 Department (the “Sheriff’s Department”), the Los Angeles County Fire Department
  5 (the “Fire Department,” and, collectively with the County and the Sheriff’s
  6 Department, the “Entity Defendants”), Joey Cruz, Rafael Mejia, Michael Russell, and
  7 Raul Versales (collectively, the “Deputy Defendants,” and, collectively with the
  8 County, the Sheriff’s Department, and the Fire Department, the “Defendants”)
  9 seeking damages to remedy violations of rights under the United States Constitution
10 and for negligence and invasion of privacy pursuant to California law. This Court has
11 subject matter jurisdiction pursuant to 28 U.S.C. sections 1331 and 1343.
12         Plaintiff allegesPlaintiffs allege, on personal knowledge as to
13 herselfthemselves and information and belief as to others, as follows:
14                                    INTRODUCTION
15         1.    On the morning of Sunday, January 26, 2020, three eighth-grade girls,
16 joined by parents and coaches, left their homes in Orange County to play in a youth
17 basketball tournament in Thousand Oaks. Making their way by helicopter, they
18 encountered dense fog. Rather than land or turn around, the pilot pushed into the fog
19 and became disoriented. The helicopter descended rapidly and crashed into the
20 foothills of the Santa Monica Mountains, killing everyone onboard. Vanessa
21 Bryant’s thirteen year-old daughter, Gianna Bryant, and husband of nearly twenty
22 years, Kobe Bryant, were among those who died.
23         2.    In the aftermath of the crash, several of the victims’ family members
24 gathered at the L.A. County Sheriff’s station in Lost Hills, devastated and distraught.
25 Sheriff Alex Villanueva met with them and assured Mrs. Bryant that his deputies
26 were securing the crash site. Based on a leak by law enforcement, the gossip and
27 celebrity news site TMZ had reported that Kobe, a singular figure in Southern
28
                                                                    Case No. 2:20-cv-09582-JFW-E
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 46 of 87 Page ID
                                 #:38268



  1 California culture and a hero to millions around the world, had died, and onlookers
  2 were flocking to the accident scene.
  3        3.     But the biggest threat to the sanctity of the victims’ remains proved to be
  4 the Sheriff’s Department itself. Faced with a scene of unimaginable loss, Sheriff’s
  5 Department personnel abused their access to the crash site by taking and sharing
  6 gratuitous photos of the dead children, parents, and coaches. As the Sheriff’s
  7 Department would later admit, there was no investigatory reason for Department
  8 personnel to take pictures of the victims’ remains.
  9        4.     Within forty-eight hours, at least ten members of the Department
10 obtained and possessed images of the victims’ remains on their personal cell phones
11 without any legitimate reason for having them. The gratuitous images also became a
12 subject of gossip within the Department, as deputies shared them in settings that had
13 nothing to do with investigating the accident. One deputy even showed off photos of
14 the victims at a bar, identifying one of the individuals depicted as Kobe Bryant and
15 bragging about how he had been at the crash site. Shocked and appalled, one of the
16 bar patrons filed a written complaint with the Sheriff’s Department.
17         5.     Upon learning that his deputies had taken and shared the gratuitous
18 photos, which plainly violated the victims’ families’ constitutional rights to control
19 images of their loved ones’ remains, Sheriff Villanueva did not inform the victims’
20 families, initiate an internal affairs investigation, or inspect the deputies’ phones to
21 determine whether and how the photos had been shared. He instead directed a
22 cover-up, summoning the deputies to the Lost Hills station and telling them that, if
23 they deleted the photos, they would face no discipline. The deputies purported to
24 accept the Sheriff’s offer, receiving a free pass in exchange for destroying evidence of
25 their misconduct.
26         6.     For one month, the Department’s cover-up worked. But on February 27
27 and 28, 2020, the Los Angeles Times reported on the deputies’ photos and the
28 Department’s effort to hide its wrongdoing. Following the reports, Sheriff Villanueva

                                              -2-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 47 of 87 Page ID
                                 #:38269



  1 admitted that his deputies took “illicit photos” of the victims’ remains and that he
  2 informally ordered their destruction to avoid the “usual routine” of a formal
  3 investigation in which everyone “lawyers up.”
  4          7.   Following the Los Angeles Times reports, other news outlets began
  5 reporting that the misconduct was not limited to the Sheriff’s Department—Fire
  6 Department personnel had taken and shared improper photos of the victims’ remains
  7 as well. Like the Sheriff’s Department, the Fire Department had been aware of the
  8 egregious conduct for several weeks and responded by directing employees to destroy
  9 evidence of their wrongdoing without ever informing the victims’ families.
10           8.   Devastated by these reports, Mrs. Bryant privately sought information
11 from the Sheriff’s Department and Fire Department to assess whether she should
12 brace for pictures of her loved ones’ remains to surface on the internet. Mrs. Bryant
13 asked the departments to explain the steps they had taken to determine the scope of
14 the misconduct and ensure that all photos of the crash site had been secured. Both
15 responded that they needed extra time to respond due to the “unusual circumstance”
16 of needing to consult documents, then sent letters in which they refused to respond to
17 all but one of Mrs. Bryant’s questions and asserted that they had no legal obligation to
18 assist.
19           9.   The Sheriff’s and Fire Departments’ outrageous actions have caused
20 Mrs. Bryantand will cause Plaintiffs severe emotional distress and
21 compoundedcompound the trauma of losing Kobe and Gianna. Mrs. Bryant feels ill
22 at the thought that sheriff’s deputies, firefighters, and members of the public have
23 gawked at gratuitous images of her deceased husband and child, and she lives in fear
24 that she or her children will one day confront horrific images of their loved ones
25 online. Many social media users and internet trolls have claimed to have seen photos
26 of the victims’ remains, and their accounts are plausible given the number of
27 individuals who took and transmitted improper photos, the ease with which cell phone
28 photos are electronically shared and saved in cloud storage, and the egregious failure

                                              -3-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 48 of 87 Page ID
                                 #:38270



  1 to take reasonable steps to prevent dissemination of the photos.
  2        10.   In taking these photographs and at several points thereafter, members of
  3 the Sheriff’s and Fire Departments have chosen to act reprehensibly, and the
  4 departments’ responses to their employees’ conduct has demonstrated that they either
  5 do not understand or do not care about the pain they have caused. This lawsuit seeks
  6 to impose accountability for that.
  7                           JURISDICTION AND VENUE
  8        11.   The County removed this action, which was commenced in the Superior
  9 Court of the State of California for the County of Los Angeles, pursuant to 28 U.S.C.
10 sections 1331, 1441, and 1446. This Court has jurisdiction over this action pursuant
11 to 28 U.S.C. sections 1331 and 1343 because Plaintiff bringsPlaintiffs bring a claim
12 for violation of the Fourteenth Amendment of the United States Constitution under 42
13 U.S.C. section 1983, and this Court has supplemental jurisdiction over
14 PlaintiffPlaintiffs’s state law claims under 28 U.S.C. section 1367(a).
15         12.   Venue is proper in this District pursuant to 28 U.S.C. section 1391(b),
16 because Defendants in this action are individuals and public agencies situated in Los
17 Angeles County and because, on information and belief, all of the acts or omissions
18 giving rise to this Complaint occurred in the Central District of California.
19                                       THE PARTIES
20         13.   Plaintiffs are as follows:
21               a.     13. Plaintiff Vanessa Bryant, a California resident, is the wife of
22 Kobe Bryant and mother of Gianna Bryant.
23               b.     Plaintiff B.B., a minor and a California resident, is a natural
24 daughter of Kobe Bryant and Vanessa Bryant, and is a sister of Gianna Bryant.
25 Vanessa Bryant has the care, custody, and control of B.B., and is a general guardian of
26 B.B.
27
28

                                              -4-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 49 of 87 Page ID
                                 #:38271



  1               c.    Plaintiff C.B., a minor and a California resident, is a natural
  2 daughter of Kobe Bryant and Vanessa Bryant, and a sister of Gianna Bryant. Vanessa
  3 Bryant has the care, custody, and control of C.B., and is a general guardian of C.B.
  4        14.    Defendant County of Los Angeles is a municipal corporation duly
  5 authorized to operate under the laws of the State of California. The Los Angeles
  6 County Sheriff’s Department is a department of the County.
  7        15.    Defendant Los Angeles County Sheriff’s Department is a local
  8 government entity created under the laws of the State of California and a department
  9 of Defendant County. The Sheriff’s Department provides general law enforcement
10 services to certain contract cities, including Calabasas, California. The Department’s
11 work is directed by, among others, Sheriff Alex Villanueva.
12         16.    Defendant Los Angeles County Fire Department is a local government
13 entity created under the laws of the State of California and a department of Defendant
14 County. The Fire Department provides fire suppression and prevention services
15 under contract with the city of Calabasas, California.
16         17.    Defendants County, Sheriff’s Department, and Fire Department are
17 “persons” subject to suit within the meaning of 42 U.S.C. § 1983. See Monell v. New
18 York Department of Social Services, 436 U.S. 658, 691 (1978).
19         18.    Pursuant to California Government Code § 815.2(a), Defendants
20 County, Sheriff’s Department, and Fire Department are liable for any and all
21 wrongful acts in violation of state law hereinafter complained of and committed by
22 their employees acting within the course and scope of their employment.
23         19.    Defendant Joey Cruz is an individual and currently a sheriff’s deputy in
24 the Los Angeles County Sheriff’s Department. Cruz is sued in his individual
25 capacity. On information and belief, Defendant Cruz is a resident of California.
26         20.    Defendant Rafael Mejia is an individual and currently a Sheriff’s deputy
27 in the Los Angeles County Sheriff’s Department. Mejia is sued in his individual
28 capacity. On information and belief, Mejia is a resident of California.

                                              -5-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 50 of 87 Page ID
                                 #:38272



  1        21.    Defendant Michael Russell is an individual and currently a Sheriff’s
  2 deputy in the Los Angeles County Sheriff’s Department. Russell is sued in his
  3 individual capacity. On information and belief, Russell is a resident of California.
  4        22.    Defendant Raul Versales is an individual and currently a Sheriff’s
  5 deputy in the Los Angeles County Sheriff’s Department. Versales is sued in his
  6 individual capacity. On information and belief, Versales is a resident of California.
  7                             GENERAL ALLEGATIONS
  8                Sheriff’s and Fire Department Personnel Took and
                   Shared Unnecessary Photos of the Victims’ Remains
  9
10         23.    On the morning of January 26, 2020, a helicopter carrying Kobe Bryant
11 and his thirteen-year-old daughter, Gianna, crashed into the foothills of the Santa
12 Monica Mountains near Calabasas, California. The pilot and all passengers died on
13 impact.
14      24.       The hours after the crash were filled with confusion. Mrs. Bryant
15 learned of the crash from an employee of Kobe, Inc., but was told there were
16 survivors. She then began receiving Instagram messages expressing sympathy for her
17 loss. Based on a leak by law enforcement, TMZ had reported that Kobe had died in a
18 helicopter accident. Having heard nothing from law enforcement herself, Mrs. Bryant
19 was confused and distraught. Ultimately, other news outlets confirmed that Kobe and
20 Gianna had perished in the accident.
21         25.    Paparazzi, members of the public, and a significant number of
22 unauthorized drones flocked to the crash site. The Sheriff’s Department closed
23 multiple roads and freeway off-ramps leading to the site to discourage onlookers, and
24 the Federal Aviation Administration imposed a five-mile no-fly zone overhead at
25 Mrs. Bryant’s request. An emergency ordinance prohibited unauthorized access to
26 the site, and Sheriff Villanueva announced that trespassers would be arrested and
27 charged with a misdemeanor.
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                                              -6-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 51 of 87 Page ID
                                 #:38273



  1          26.   Meanwhile, Mrs. Bryant and other family members of the victims
  2 gathered at the nearby Sheriff’s station in Lost Hills. Mrs. Bryant spoke with Sheriff
  3 Alex Villanueva and expressed concern that the crash site was unprotected from
  4 photographers. Sheriff Villanueva assured her that his deputies were securing the
  5 scene.
  6          27.   This assurance was hollow. Notwithstanding Sheriff Villanueva’s later
  7 acknowledgement that Sheriff’s Department personnel “had no place to be taking
  8 photographs of anything,” deputies who responded to the crash scene used personal
  9 cell phones to take and share gratuitous photos of the dead children, parents, and
10 coaches. According to the Sheriff’s Department’s subsequent investigatory report,
11 one deputy in particular took between 25 and 100 photos of the crash scene on his
12 personal cell phone, many of which had no conceivable investigatory purpose and
13 were focused directly on the victims’ remains.
14           28.   Photos of the remains quickly spread within the Sheriff’s Department as
15 deputies transmitted them to one another via text message and AirDrop. Within
16 forty-eight hours, at least ten members of the Sheriff’s Department obtained and
17 possessed photos of the victims’ remains on their personal cell phones despite having
18 no legitimate governmental use for the photos. Making matters worse, Sheriff’s
19 Department personnel showed off the photos of the victims’ remains to colleagues in
20 settings that had nothing to do with investigating the crash—an investigation that was
21 being handled by the National Transportation Safety Board (“NTSB”), not the
22 Sheriff’s Department—and the photos became the subject of gossip within the
23 Department.
24           29.   Members of the Fire Department engaged in similar misconduct. While
25 working the crash site on January 26, 2020, several members of the Fire Department
26 abused their access to take graphic photos of the victims’ remains without any
27 legitimate governmental purpose. One such instance occurred at approximately 2:00
28 p.m. on January 26, 2020—long after the downed helicopter had been

                                              -7-
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 52 of 87 Page ID
                                 #:38274



  1 identified—when a sheriff’s deputy observed a firefighter taking multiple pictures of
  2 the accident scene. As the deputy later explained to Sheriff’s Department
  3 investigators, the firefighter “wasn’t one of the first responder[s],” but rather “showed
  4 up after the fact, and then started taking pictures as well.” In addition, according to a
  5 complaint filed in Los Angeles County Superior Court in November 2020 by Tony
  6 Imbrenda, a public information officer in the Fire Department who responded to the
  7 crash scene on the day of the accident but was not involved in investigating the
  8 accident, multiple firefighters electronically transmitted photos of the crash scene to
  9 him. Based on the foregoing, Plaintiff believes and thereon allegesPlaintiffs allege
10 that, in the hours and days that followed the crash, several members of the Fire
11 Department electronically shared and/or displayed the graphic images of hertheir
12 loved ones’ remains to colleagues without any legitimate governmental purpose.
13                                   Deputy Rafael Mejia
14         30.    Rafael Mejia, a deputy with the Sheriff’s Department, responded to the
15 general proximity of the accident scene on January 26, 2020 and stationed himself at
16 the Department’s makeshift command post at the Los Virgenes Water District. While
17 there, Mejia obtained multiple photographs of the Bryants’ remains and stored them
18 on his personal cell phone.
19         31.    Shortly after obtaining photos of the Bryants’ remains, Mejia shared
20 them with at least two individuals without any legitimate governmental purpose.
21                a.     At some point on January 26, 2020—after Mejia and others had
22 learned that the victims of the helicopter accident included Kobe and Gianna
23 Bryant—Mejia walked 100 feet from his position at the makeshift command post to
24 chat with a female deputy who was controlling traffic in and out of the Las Virgenes
25 Water District. Mejia told the deputy that he had photos of the accident scene and, for
26 no reason other than morbid gossip, proceeded to send the photos of the Bryants’
27 remains to her personal cell phone. The deputy had no role in investigating the
28 accident or identifying those who perished, and later acknowledged in an interview

                                               -8-
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 53 of 87 Page ID
                                 #:38275



  1 with Department investigators that she had no legitimate governmental purpose for
  2 the photos. Similarly, Mejia admitted to investigators that the deputy did not need the
  3 photos for any reason and that it was inappropriate to send them to her. In explaining
  4 his actions to investigators, Mejia could only say that “curiosity got the best of
  5 [them]” and that such curiosity was “in [their] nature” as deputies.
  6               b.     At a separate point on January 26, 2020—and again, with
  7 knowledge that Kobe and Gianna Bryant were among those who perished in the
  8 crash—Mejia electronically transmitted photos of the Bryants’ remains to another
  9 deputy, Joey Cruz. Cruz had responded to the general proximity of the accident scene
10 along with Mejia, but he had no role in investigating the accident or identifying those
11 who perished. Mejia sent photos of the Bryants’ remains to Cruz’s personal cell
12 phone without any legitimate governmental purpose.
13         32.    Following the above actions, Mejia learned that a complaint had been
14 filed with the Sheriff’s Department regarding improper sharing of photos of the crash
15 victims’ remains. Mejia then negligently and/or willfully destroyed evidence of his
16 wrongdoing by deleting photos of the victims’ remains and other evidence from his
17 personal cell phone. At the time, Mejia had an obligation to preserve this evidence of
18 his wrongdoing, including any associated metadata, and, as a trained law enforcement
19 officer, knew or should have known that the evidence may be relevant to future
20 litigation or investigations. By committing this spoliation, Mejia severely
21 undermined the ability to verify any of his claims regarding his handling and
22 dissemination of the photos.
23                                     Deputy Joey Cruz
24         33.    Joey Cruz, a trainee deputy with the Sheriff’s Department, responded to
25 the general proximity of the accident scene on January 26, 2020. While there, Cruz
26 was posted at the base of the hillside, where he monitored entry to a trailhead that led
27 to the downed helicopter. At no point on the day of the accident or at any time
28 thereafter did Cruz have a role in investigating the accident or identifying those who

                                               -9-
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 54 of 87 Page ID
                                 #:38276



  1 perished. Nonetheless, at some point during his shift, Cruz obtained multiple
  2 photographs of the Bryants’ remains on his personal cell phone.
  3        34.    After obtaining photos of the Bryants’ remains, Cruz shared them with
  4 multiple individuals without any legitimate governmental purpose, including several
  5 members of the public.
  6               a.    While at the Lost Hills Sheriff’s station on the evening of January
  7 26, 2020—long after Cruz and others had learned that the victims of the helicopter
  8 accident included Kobe and Gianna Bryant—Cruz told another deputy, Michael
  9 Russell, that he had photos of the accident scene. Russell asked to see the photos, and
10 Cruz texted photos of the Bryants’ remains to Russell’s personal cell phone. There
11 was no legitimate governmental purpose for Cruz to transmit the photos to Russell
12 because, like Cruz, Russell had no role in investigating the accident or identifying
13 those who perished.
14                b.    On January 28, 2020, while at his mother’s house in West Covina,
15 California, Cruz showed photos of the Bryants’ remains to his niece. Before
16 displaying the photos, Cruz made a crude remark about the state of the victims’
17 remains.
18                c.    While at the Baja California Bar and Grill in Norwalk, California
19 on January 28, 2020, Cruz boasted that he had worked at the scene of the accident
20 where Kobe Bryant had died. Cruz then showed photos of the Bryants’ remains to a
21 fellow bar patron and the restaurant’s bartender, and he is seen on the bar’s security
22 camera zooming in and out of the images while displaying them to the bartender. One
23 of the photos showed the body of a girl, and Cruz remarked that another showed the
24 remains of Kobe Bryant. Shortly after seeing the photos, the bartender loudly boasted
25 to restaurant employees and patrons that he had just seen a photo of Kobe Bryant’s
26 body and described the image in graphic detail.
27         35.    Following the above actions, Cruz learned that a complaint had been
28 filed with the Sheriff’s Department regarding improper sharing of photos of the crash

                                             - 10 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 55 of 87 Page ID
                                 #:38277



  1 victims’ remains. Cruz then negligently and/or willfully destroyed evidence of his
  2 wrongdoing by deleting photos of the victims’ remains from his personal cell phone
  3 and deleting the text messages he had sent Russell that contained photos of the
  4 victims’ remains. At the time, Cruz had an obligation to preserve this evidence of his
  5 wrongdoing, including any associated metadata, and, as a trained law enforcement
  6 officer, knew or should have known that the evidence may be relevant to future
  7 litigation or investigations. By committing this spoliation, Cruz severely undermined
  8 the ability to verify any of his claims regarding his handling and dissemination of the
  9 photos.
10                                 Deputy Michael Russell
11         36.    Deputy Michael Russell responded to the general proximity of the
12 accident scene on January 26, 2020, and was staffed to a checkpoint at the base of a
13 hillside that led to the downed helicopter. Throughout the day, Russell heard rumors
14 that photos of the accident scene were circulating among other deputies, and he was
15 curious to see them himself. While at the Lost Hills Sheriff’s station that evening,
16 Russell asked Cruz to send him the photos, and Cruz sent him photos of the Bryants’
17 remains. Russell saved the photos to an album on his personal cell phone so that he
18 did not have to keep going into the text message to view them.
19         37.    At no point did Russell play any role in investigating the accident or
20 identifying those who perished. In an interview with Department investigators,
21 Russell admitted that there was no investigative purpose for him to obtain the photos
22 and that it was inappropriate for him to take possession of them.
23         38.    Nonetheless, on or around January 28, 2020, Russell shared the photos
24 with a personal friend with whom Russell plays video games nightly. Although the
25 friend is a sheriff’s deputy, he was assigned to the Santa Clarita station, not the Lost
26 Hills station, and had no involvement whatsoever in the response to the helicopter
27 accident. In a text exchange initiated by Russell, Russell told the friend that he had
28 pictures of the accident scene. Russell then texted photos of the Bryants’ remains to

                                             - 11 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 56 of 87 Page ID
                                 #:38278



  1 his friend’s personal cell phone, noting that one of the victims depicted was Kobe
  2 Bryant. In a later interview with Department investigators, Russell’s friend indicated
  3 that one of the photos showed the remains of a child and that the remains appeared to
  4 be the primary focus of the photo.
  5        39.    Following the above actions, Russell negligently and/or willfully
  6 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains and
  7 other evidence from his personal cell phone. At the time, Russell had an obligation to
  8 preserve this evidence of his wrongdoing, including any associated metadata, and, as
  9 a trained law enforcement officer, knew or should have known that the evidence may
10 be relevant to future litigation or investigations. By committing this spoliation,
11 Russell severely undermined the ability to verify any of his claims regarding his
12 handling and dissemination of the photos.
13                                 Deputy Raul Versales
14         40.    Raul Versales, a deputy with the Sheriff’s Department, responded to the
15 general proximity of the accident scene on January 26, 2020 and stationed himself at
16 the makeshift command post established at the Los Virgenes Water District. While
17 there, Versales obtained multiple photographs of the Bryants’ remains, stored them
18 on his personal cell phone, and shared them with several other Department personnel,
19 including Mejia.
20         41.    On the evening of January 26, 2020—long after Versales learned that the
21 victims of the helicopter accident included Kobe and Gianna Bryant—Versales sent
22 photos of the Bryants’ remains to a detective for the Department without any
23 legitimate governmental purpose. The detective had responded to the general
24 proximity of the accident scene earlier in the day, but had no role in investigating the
25 accident or identifying those who perished. As the detective admitted to Department
26 investigators, he did not use the photos for any official purpose and there was no
27 reason for him to receive them. As an indication of how casually the photos were
28 shared within the Department, the detective could not even identify the name of the

                                             - 12 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 57 of 87 Page ID
                                 #:38279



  1 deputy who sent him the photos during an interview with Department investigators.
  2 Following his shift on January 26, 2020, the detective asked his wife, who is not a law
  3 enforcement officer and had no reason to view the photos, whether she wanted to see
  4 the photos of the victims’ remains.
  5        42.    Following the above actions, Versales negligently and/or willfully
  6 destroyed evidence of his wrongdoing by deleting photos of the victims’ remains and
  7 other evidence from his personal cell phone. At the time, Versales had an obligation
  8 to preserve this evidence of his wrongdoing, including any associated metadata, and,
  9 as a trained law enforcement officer, knew or should have known that the evidence
10 may be relevant to future litigation or investigations. By committing this spoliation,
11 Versales severely undermined the ability to verify any of his claims regarding his
12 handling and dissemination of the photos.
13               The Defendants Attempt a Cover-Up and Destroy Evidence
14         43.    Minutes after Cruz left the Baja California Bar and Grill on the evening
15 of January 28, 2020, the bartender approached a table of four patrons and excitedly
16 stated that a sheriff’s deputy had just shown him graphic photos of Kobe Bryant’s
17 remains. The bartender described specific characteristics of Mr. Bryant’s remains,
18 explained how the remains could be linked to Mr. Bryant, and indicated he found the
19 situation humorous. The bartender was poised to divulge additional details, but the
20 patrons expressed that they did not want to hear anything further.
21         44.    In a later interview with Department investigators, one of the patrons
22 explained that he found the situation “very, very disturbing,” such that it “bothered
23 [him] that entire night, even [on] [his] drive home.” The patron believed it was “very
24 inappropriate for that deputy to be there at that environment, showing those picture to
25 other individuals,” and the situation “did not sit well with [him] at all.” Upon arriving
26 home, the patron emailed a complaint to the Sheriff’s Department while sitting in his
27 car in his driveway: “There was a deputy at Baja California Bar and Grill in Norwalk
28 who was at the Kobe Bryant crash site showing pictures of his [i.e., Kobe Bryant’s] . .

                                             - 13 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 58 of 87 Page ID
                                 #:38280



  1 . body. He was working the day the helicopter went down and took pictures of the
  2 crash site and bodies. He is a young deputy, shaved head with tatoos [sic] on his arm.
  3 From what I know[,] [h]e’s been on the field for 4 months[.]”
  4        45.    Under normal protocol, this complaint would have triggered a formal
  5 inquiry and/or an internal affairs investigation. But Sheriff Villanueva did not follow
  6 protocol. He did not conduct a standard investigation or collect, inspect, or search cell
  7 phones to determine how many photos existed, whether and how they had been
  8 transmitted, or whether they were stored on the cloud. He did not inform the L.A.
  9 County Office of the Inspector General. Most importantly, he did not alert the
10 victims’ families of the misconduct or the existence of the photos.
11         46.    Instead, sometime in late January 2020, Sheriff Villanueva summoned
12 his deputies to the Lost Hills station and told them that if they “came clean” and
13 deleted the photos, they would not face any discipline. The deputies responded by
14 claiming that they had deleted the photos and, to the extent they had transmitted the
15 photos to others, those persons had also deleted them. Sheriff Villanueva abided by
16 his offer and did not discipline the deputies for violating the constitutional right of the
17 victims’ families. For nearly a month, until their hands were forced by public reports
18 about the photos, Sheriff Villanueva and the Department took no further action to
19 investigate or contain the spread of the photos.
20         47.    The above actions were taken to avoid the consequences of misconduct
21 by Department personnel or, at a minimum, in reckless disregard of the risk that
22 destruction of evidence would render a complete investigation impossible. At the
23 time that Department leadership ordered deletion of the photos without conducting
24 any meaningful investigation, the Department and the County knew or should have
25 known that the actions of Department personnel, including Cruz’s conduct at the bar
26 in Norwalk, California, constituted tortious conduct under California law and a
27 violation of the constitutional rights of the victims’ families under the United States
28 Constitution. Hence, the Department and the County had an obligation to preserve

                                              - 14 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 59 of 87 Page ID
                                 #:38281



  1 evidence of the Department’s wrongdoing, including any associated metadata, and, as
  2 trained law enforcement officers, Department leadership knew or should have known
  3 that the evidence may be relevant to future litigation and investigations.
  4                              The Misconduct Is Exposed
  5        48.    On February 27 and 28, 2020, the Los Angeles Times reported that
  6 several sheriff’s deputies had taken and shared photos of the victims’ remains and that
  7 the Sheriff’s Department had been aware of the misconduct for nearly a month. Soon
  8 thereafter, the Times also exposed the Department’s attempted cover-up, reporting
  9 that it “tried to keep a lid on the episode instead of following normal investigative
10 protocols.” Around the same time, it was reported that Fire Department personnel
11 were sharing graphic photos of the victims’ remains and that the Department
12 responded by telling its members to destroy the photos.
13       49. In an interview with the Los Angeles Times on February 26, 2020,
14 Captain Jorge Valdez stated that he was “unaware of any complaint” regarding
15 crash-scene photos and that “there was no order given to delete any photographs.”
16 Both statements were false. Valdez was personally involved in responding to the
17 citizen complaint, having spoken to the complainant himself, and Sheriff Villanueva
18 has since made numerous admissions about deputies taking photos of the victims’
19 remains and his orders to destroy them without any meaningful investigation.
20         50.    Through statements made by Sheriff Alex Villanueva in his official
21 capacity, the Sheriff’s Department and the County have admitted the facts showing
22 their tortious conduct and violation of Mrs. BryantPlaintiffs’s constitutional rights.
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                                             - 15 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 60 of 87 Page ID
                                 #:38282



  1               a.    In media appearances in late February and early March 2020,
  2 Sheriff Villanueva admitted that at least eight deputies took and/or shared photos of
  3 the victims’ remains and acknowledged that the conduct was “disgusting,” “wildly
  4 inappropriate,” “inexcusable,” and “unconscionable.” Sheriff Villanueva further
  5 admitted that the improper photos “harm[ed] people [who] have suffered a tragedy
  6 already” by creating the possibility of “a public display of their loved ones’ remains.”
  7               b.    Sheriff Villanueva has also admitted that the photos of the
  8 victims’ bodies were not taken for any law enforcement purpose. In response to
  9 questions from reporters on March 2, 2020, Sheriff Villanueva admitted: “[I]n this
10 type of scene, which is an accident, there’s only two groups of people that should be
11 taking photos: that is the NTSB and the coroner’s office. No one else has . . . any
12 reason to take any photos . . . Anybody outside of [the NTSB and coroner’s office]
13 would be unauthorized. It’d be illicit photos.” In another interview the same day,
14 Sheriff Villanueva admitted: “[T]he deputies had no place to be taking any
15 photographs of anything. Only, in this case, it would have been NTSB investigators,
16 coroner’s investigators, and that’s about it. Nobody else.”
17                c.    The Sheriff’s Department has also admitted to destroying
18 evidence of the unlawful photos. In an interview with NBC-4 Los Angeles on March
19 2, 2020, Sheriff Villanueva stated that he learned within days of the crash that a
20 trainee deputy had allegedly showed off crash-scene photos at a bar and, in response,
21 the Department ordered the trainee and seven other deputies to delete the photos.
22 Villanueva stated that his “number one priority” was to “make sure those photos no
23 longer existed.” According to Villanueva, the Department “identified what we
24 thought were the eight individuals” who took the images and “they deleted all the
25 pictures they had, and they acknowledged that, if they transmitted them, that they
26 were deleted.”
27    The Sheriff’s and Fire Departments Knew or Should Have Known That First
28    Responders Taking Photos of Human Remains Is a Long-Standing Problem

                                             - 16 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 61 of 87 Page ID
                                 #:38283



  1        51.   On and before the date of the helicopter crash, the Sheriff’s Department
  2 knew that unnecessarily taking, possessing, and sharing photos of victims’ remains
  3 had been a long-running problem for law enforcement. Addressing reporters on
  4 March 2, 2020, Sheriff Villanueva stated: “[U]nfortunately, ever since they invented
  5 the Polaroid camera, this has been a problem in law enforcement across the nation,
  6 probably across the world, because it just makes it so much easier. And then
  7 there’s—there’s cops—they keep death books, for example, where . . . they have
  8 photos from crime scenes throughout their careers.” In an interview with the Los
  9 Angeles Times on February 26, 2020, Sheriff Villanueva exhibited similar awareness
10 of the problem: “Every police department struggles with the same thing, where people
11 take photos and they’re not evidence . . . So that’s a practice we have to make sure
12 that everyone walks away, and there is no evidence other than the official photos of
13 evidence that are taken for criminal purposes.”
14         52.   In addition, the Sheriff’s and Fire Departments knew prior to the
15 helicopter crash that government employees abusing access to celebrity-related
16 information has long been a problem in Los Angeles. Examples include a sheriff’s
17 deputy unlawfully leaking the arrest report of a prominent actor and the Los Angeles
18 Police Department improperly disclosing photos of a famous recording artist
19 depicting injuries from a domestic assault. With respect to the helicopter crash,
20 Sheriff Villanueva has acknowledged that the involvement of a celebrity like Kobe
21 Bryant, a singular figure in Southern California culture and a hero to millions around
22 the world, creates “much more interest” among deputies.
23         53.   Notwithstanding the above knowledge and his assurances to Mrs.
24 Bryant, Sheriff Villanueva said nothing in his briefings with first responders at the
25 accident scene regarding photography or respecting privacy.
26 The Sheriff’s and Fire Departments Had No Policies to Prevent Violations of the
27   Constitutional Right to Control the Death Images of Deceased Loved Ones
28

                                            - 17 -
                                 FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 62 of 87 Page ID
                                 #:38284



  1        54.    Since at least 2012, it has been clear in the Ninth Circuit that individuals
  2 have a substantive due process right under the United States Constitution to control
  3 the death images and physical remains of deceased family members. See Marsh v.
  4 Cnty. of San Diego, 680 F.3d 1148 (9th Cir. 2012). Nonetheless, and despite the
  5 Department’s awareness that improper death images are “a problem in law
  6 enforcement across the nation,” neither the Sheriff’s Department nor the Fire
  7 Department had a policy at the time of the accident regarding the taking or sharing of
  8 photos of human remains.
  9        55.    Following the Los Angeles Times reports, the Sheriff’s Department
10 issued a statement that the allegations regarding the accident-scene photos “are
11 currently under investigation, as are the effectiveness of existing policies and
12 procedures.” (Exhibit 1.) Days later, in a letter to the L.A. County Inspector
13 General, Sheriff Villanueva admitted: “It is evident our photograph policy is deficient
14 and this incident has identified a need for me to direct the creation of a new policy.”
15 Similarly, in an interview with NBC-4 in March 2020, Sheriff Villanueva stated that
16 the Department was “creating new [policies] that are very specific, with teeth in ‘em,
17 up to and including a penalty of discharge for violation of these policies.”
18         56.    In the following months, the Sheriff’s Department added an entirely new
19 section to its Manual of Policies and Procedures, titled: “Photographs/Recordings at
20 Scenes Where Human Remains Are Present.” (Exhibit 2.) The new policy dictates
21 that, “[i]n order to preserve the dignity and privacy of the deceased and their families,
22 scenes where human remains are present shall only be photographed/recorded by
23 Scientific Services Bureau or the Department of Medical Examiner (DME)
24 personnel.” (Ex. 2 at 1.) The new policy further provides: “Any photograph,
25 recording, or record produced by a Department member . . . shall be considered the
26 sole property of the Department” and “[a]ny unauthorized release or sharing is strictly
27 prohibited.” (Ex. 2 at 1.)
28

                                              - 18 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 63 of 87 Page ID
                                 #:38285



  1        57.    In interviews with Sheriff’s Department investigators regarding the
  2 improper photos, personnel throughout the chain of command confirmed that the
  3 Sheriff’s Department had no clear policy and had provided no training or instruction
  4 regarding photographs of human remains prior to the accident.
  5               a.    Numerous deputies who responded to the accident scene on
  6 January 26, 2020, including Mejia, Russell, Versales, and others, told Department
  7 investigators there was no instruction or briefing on the day of the accident regarding
  8 photography of the crash site or human remains.
  9               b.    Although many of the Sheriff’s Department personnel who
10 obtained photos of the victims’ remains were in the midst of training to become
11 sheriff’s deputies, had recently completed such training, or were themselves training
12 officers, none demonstrated any awareness of a Department policy regarding the
13 propriety of taking, possessing, or sharing photos of human remains, nor did they
14 report having received any training on the subject prior to the Los Angeles Times
15 reports in February 2020.
16                c.    A captain for the Sheriff’s Department who was the senior-most
17 supervisor at the makeshift command post on the day of the accident demonstrated no
18 awareness of the Sheriff’s Department’s policy regarding use of personal cell phones
19 to capture work-related environments, telling investigators that it was “absolutely”
20 appropriate for department personnel to use personal cell phones to photograph
21 accident scenes. The captain further implied that using personal cell phones to take
22 photos of human remains would be appropriate to memorialize a scene, so long as the
23 cell phone photos are provided to the Department’s homicide department. In
24 interviews with investigators, the captain displayed no awareness of any department
25 policy related to taking, possessing, or sharing photos of human remains, nor did he
26 report having received any training on the subject.
27                d.    A sergeant for the Sheriff’s Department who was
28 second-in-command at the makeshift command post on the day of the accident told

                                             - 19 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 64 of 87 Page ID
                                 #:38286



  1 investigators that, even with the benefit of hindsight, there is nothing he would do
  2 differently regarding the way he supervised the deputies on the day of the accident.
  3 The sergeant added that he thought that the accident scene “was handled great” by the
  4 Sheriff’s Department and remarked that “it’s just one person,” presumably Cruz, who
  5 “screwed it up for everybody.” The sergeant demonstrated no awareness of the
  6 Sheriff’s Department’s policy regarding use of personal cell phones to capture
  7 work-related environments, telling investigators that he believed it was appropriate
  8 for deputies at the crash site to use their cell phones to take photos of the scene. At
  9 one point in an interview with Department investigators, the sergeant stated: “[I]f it
10 happened again I guess I – if there was [a] policy that specifically said on how to – I
11 don’t know. I guess how to handle any type of video or – or pictures and – then it
12 would be brought up, but I don’t know.”
13                e.     As of September 29, 2020, as discussed below in paragraph 70, it
14 is a crime in California for a first responder to take photos of deceased individuals
15 without a valid purpose.
16         58.    Similarly, according to a lawsuit recently filed in Los Angeles Superior
17 Court by a former Public Information Officer for the Fire Department who responded
18 to the crash scene, Tony Imbrenda, the Fire Department had no policy at the time of
19 the accident regarding photography at emergency incidents.
20    The Sheriff’s Department Failed to Train Its Employees on the Department’s
       Policy Regarding Photos of Work-Related Scenes on Personal Cell Phones
21
22         59.    In addition to failing to establish a specific policy regarding the
23 treatment and photographing of human remains, the Sheriff’s Department also did not
24 follow or enforce its policy regarding deputies’ use of personal cell phones to capture
25 work-related environments. That policy provides:
26       Members shall not use a personal cellular telephone or any other
         similar personal communication or recording device to record, store,
27       document, catalog, transmit, and/or forward any image, document,
         scene, or environment captured as a result of their employment and/or
28       while performing official Department business that is not available or
         accessible to the general public.
                                              - 20 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 65 of 87 Page ID
                                 #:38287



  1 (Exhibit 3 at 5.) According to the Sheriff’s Department’s Manual of Policies and
  2 Procedures, supervisors must investigate reports of violations of the policy and “will
  3 be held accountable for and evaluated on” their enforcement of the policy. (Ex. 3 at
  4 2.) Members of the Department who violate the policy “shall be subject to
  5 disciplinary action,” which could include “reprimand,” “suspension without pay,”
  6 “reduction in rank,” and/or “dismissal from the Department.” (Ex. 3 at 3-4.)
  7        60.    In direct contravention of this policy, the sergeant who was
  8 second-in-command at the Department’s command post on the day of the accident
  9 told Department investigators that the Lost Hills station had a policy and/or custom of
10 encouraging Department personnel to photograph accident scenes using their
11 personal cell phones so that the images could be posted on the station’s social media
12 accounts, including Twitter and Facebook. The sergeant explained that, at the time he
13 received the call to respond to the helicopter crash, he was at the scene of an
14 automobile crash taking pictures on his personal cell phone. According to the
15 sergeant, he had taken a class regarding social media and was “told to take pictures of
16 deputies in action.” The sergeant added that the Lost Hills station “is really big on
17 tweeting stuff out” and “they’re really pushing this social media . . . showing us in
18 action or whatever.”
19         61.    Sheriff Villanueva did not discipline the deputies who took cell-phone
20 photos of the crash site and has stated publicly that the Department’s policies at the
21 time did not prohibit the deputies’ actions. These statements and actions, combined
22 with the significant number of deputies who took and/or shared cell-phone photos of
23 the accident site, demonstrate that the Department failed to adequately train,
24 supervise, and discipline its personnel regarding its policy related to the use of
25 personal cell phones to photograph work-related scenes.
26
27
28

                                             - 21 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 66 of 87 Page ID
                                 #:38288



  1                   The Sheriff’s Department and Fire Department
                      Refuse to Provide Information to Mrs. Bryant
  2
  3        62.    After learning of the existence of the photos, attorneys for Mrs. Bryant

  4 sent letters to the Sheriff’s and Fire Department requesting that they take immediate
  5 action to secure all photos and videos of the crash in their possession, “including any
  6 photos or videos in the possession of or disseminated by Sheriff’s Department
  7 personnel.” (Exhibit 4.) Mrs. Bryant further requested that the Sheriff’s Department
  8 and Fire Department conduct internal affairs investigations “to determine the extent
  9 of the unauthorized taking and dissemination of photos” and the identities of the
10 deputies and firefighters involved. (Ex. 4 at 2, Ex. 5 at 2.)
11       63. On March 8, 2020, following news reports regarding the number of

12 deputies who took improper photos, attorneys for Mrs. Bryant sent a follow up letter
13 requesting more information about the Sheriff’s Department’s investigation of the
14 deputies’ misconduct, including the identity of all personnel who took photos of the
15 victims’ remains; the steps the department had taken to identify all personnel who had
16 the photos on their personal devices; the steps the department had taken to determine
17 whether and to what extent personnel who had such photos or recordings shared them
18 with other members of the department or third parties; and the steps the department
19 had taken to secure all photos or recordings of the victims’ remains in the possession
20 of its personnel. (Exhibit 6.)
21         64. On March 26 and April 2, 2020, nearly a month after Mrs. Bryant first

22 inquired about the misconduct, an attorney for the Sheriff’s Department wrote to Mrs.
23 Bryant that the Department had no legal obligation to respond to her questions and
24 would not do so. (Exhibits 7-8.) Mrs. Bryant received a nearly identical response
25 from an attorney for the Fire Department in letters dated March 10 and 26, 2020.
26 (Exhibits 9-10.)
27     The Sheriff’s Department Conducts a Belated, Deficient Investigation

28

                                             - 22 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 67 of 87 Page ID
                                 #:38289



  1        65.    In response to public shock and outrage following the Los Angeles Times
  2 reports, as well as scrutiny from the Sheriff’s Department’s Civilian Oversight Board,
  3 the Department announced that it would conduct an internal affairs investigation of
  4 the improper photos. In discussing his Department’s inexcusably belated
  5 investigation, Sheriff Villanueva stated on March 2, 2020: “All [photos of remains]
  6 that we know of that were in the possession of the eight individuals were deleted, and
  7 we’re hoping that that is the outcome of this—that there is no photos to be circulated
  8 anywhere.” (Emphasis added.) Two months later, in May 2020, Sheriff Villanueva
  9 stated that the Department was “going through the final stages” of its investigation of
10 the improper photos and, “once the information is developed and it’s done . . . we’re
11 going to make the entire investigation public so everybody can read it for
12 themselves.”
13         66.    The Department has yet to deliver on Sheriff Villanueva’s promise of
14 publicly reporting the results of the Department’s investigation, but Mrs. Bryant
15 obtained the Department’s final investigative report via a motion to compel in
16 January 2021. Substantively, the report reveals that the Sheriff’s Department has
17 failed to take basic steps to ensure all copies of the improper photos are tracked down
18 and sequestered.
19                a.    The Department’s interviews of the offending personnel were
20 notably brief. For example, Defendant Russell was interviewed for a mere
21 thirty-eight minutes, and another individual known to have possessed the improper
22 photos was questioned for only fourteen minutes.
23                b.    In the transcribed interviews, the Department’s investigators
24 revealed that they were unfamiliar with fundamental concepts regarding how photos
25 are stored and transmitted on cell phones. For example, during Defendant Versales’
26 interview, the Department’s lead investigator stated: “I don’t know how iPhones
27 work.” And when another officer who had received photos of the victims’ remains
28 stated in his interview that he didn’t understand how his phone worked and had “to

                                             - 23 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 68 of 87 Page ID
                                 #:38290



  1 ask my kids how to do most of the stuff,” the lead investigator responded: “Right. I’m
  2 the same way. I really don’t, I’m not familiar with phones like that.” Several deputies
  3 told the Department’s investigators that they had transmitted the improper photos to
  4 one another using iPhone’s AirDrop feature, to which the lead investigator responded,
  5 “I’m not too familiar with AirDrop,” and “I’ve come to learn that AirDrop is an
  6 iPhone feature? Is that exclusive to iPhone?” No apparent investigative follow-up
  7 occurred.
  8               c.    Several subjects of the investigation were themselves unsure of
  9 how their cell phones operated and whether photos of the victims’ remains still
10 remained in storage. For example, when asked whether he had checked his cloud
11 account to determine whether the improper photos were stored there, one member of
12 the Department who had received the photos responded: “I don’t know how to. I
13 don’t know how to get into the cloud.” No apparent investigative follow-up occurred.
14                d.    Indeed, at no point during the investigation did Department
15 investigators forensically examine the phones of personnel known to have possessed
16 and/or shared photos of the crash victims’ remains using their personal cell phones.
17 Instead, the report’s conclusions rest almost entirely on unverified, unsworn
18 statements made by the offending personnel in interviews with Department
19 investigators.
20                e.    Predictably, Defendants’ earlier spoliation of evidence inhibited
21 the investigation. A large portion of the interviews involved having the witnesses
22 describe from recollection how many photos they received and what they depicted.
23 When one interview subject expressed difficulty remembering, the Department’s lead
24 investigator responded: “[T]his is what makes it difficult. We don’t have [the]
25 pictures.” Without photos and text messages to examine, and without having
26 conducted a forensic examination of the deputies’ cell phones, the Department’s
27 purported investigatory findings amount to a regurgitation of the wrongdoers’
28 self-serving, unsworn accounts of their own conduct.

                                             - 24 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 69 of 87 Page ID
                                 #:38291



  1         The Deputy Defendants Exhibit Consciousness of Guilt by Making
               False Exculpatory Statements to Department Investigators
  2
  3        67.   Each of the Deputy Defendants made false exculpatory statements to
  4 Department investigators in the wake of the citizen complaint. Their decision to hide
  5 the facts strongly suggests that their misconduct was more extensive than they have
  6 admitted.
  7              a.     In an interview with Department investigators on March 30, 2020,
  8 Defendant Mejia claimed that only one of the crash scene photos he shared contained
  9 victims’ remains. In reality, the number was at least five, as the deputy to whom
10 Mejia sent the photos told investigators that approximately five of them showed
11 human remains. Defendant Mejia similarly made false statements in a memo he
12 wrote to the head of the Lost Hills station on January 30, 2020. In the memo, Mejia
13 wrote that “[t]he purpose of me sending/receiving the [crash scene] photographs was
14 to answer some questions regarding the color, numbers and identifying features of the
15 aircraft as well as crash scene details.” Mejia also wrote: “The photographs were
16 immediately erased after the incident from my cell phone.” Both of these statements
17 were false. In an interview with Department investigators on March 30, 2020, Mejia
18 admitted that there was no need to send the crash scene photos to another deputy, but
19 he did so because “curiosity got the best of us.” Mejia also acknowledged that he did
20 not delete the photos until January 30, 2020—four days after the accident—when a
21 supervisor told him to report to the Lost Hills station for questioning about the photos.
22               b.     In an interview with Department investigators on March 30, 2020,
23 Defendant Cruz claimed that: (i) he did not show his phone to anyone other than the
24 bartender at the Baja California Bar & Grill; (ii) he never zoomed-in on any of the
25 photographs; (iii) he did not recall human remains being in any of the images he
26 showed the bartender; and (iv) he did not tell the bartender that one of the bodies
27 depicted in the photos was Kobe Bryant’s. All of these statements were false.
28 Security footage reveals Cruz showing his phone to a fellow bar patron and using his

                                             - 25 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 70 of 87 Page ID
                                 #:38292



  1 fingers to zoom-in on his phone while showing the photos to the bartender. And,
  2 contrary to Cruz’s claims, the bartender explained to Department investigators that
  3 Cruz showed him two photos containing victims’ remains and specifically noted
  4 certain details in the picture as proof that one of them reflected Kobe Bryant’s
  5 remains.
  6               c.    In an interview with Department investigators on March 30, 2020,
  7 Defendant Russell claimed that he had “no idea” whether any of the human remains in
  8 the photos belonged to Kobe Bryant. However, the deputy to whom Russell sent the
  9 photos told investigators that, when sending the photos via text, Russell stated that he
10 believed one of the individuals depicted was Kobe Bryant. Defendant Russell
11 similarly made false statements in a memo he wrote to the head of the Lost Hills
12 station on January 30, 2020. In the memo, Russell wrote: “On 01-26-2020, while
13 working as unit 224T1, I shared photographs of the helicopter crash crime scene with
14 other law enforcement personnel. I received the photographs from Deputy Joey Cruz
15 . . . who was also working this incident via text. I sent two photos of the aircraft crash
16 to [a deputy] (Santa Clarita Station).” These statements implied that Russell shared
17 the photos on the day of the accident with others who were working at the scene.
18 However, Russell did not share photos with the deputy from the Santa Clarita station
19 “while working” on the day of the accident, January 26, 2020. Rather, Russell later
20 admitted in an interview with Department investigators that he texted photos of the
21 victims’ remains to the deputy who works at the Santa Clarita station (a personal
22 friend of Russell’s who had no involvement in responding to the crash scene) while
23 off duty on January 28, 2020, two days after the accident.
24                d.    In a memo addressed to the head of the Lost Hills station dated
25 January 30, 2020, Defendant Versales acknowledged that he sent crash-scene photos
26 to another member of the Department but claimed that “[t]he purpose of [his]
27 sending/receiving the [crash scene] photographs was to answer some questions
28 regarding the color, numbers and identifying features of the aircraft as well as crash

                                             - 26 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 71 of 87 Page ID
                                 #:38293



  1 scene details.” Versales doubled down on this position in a later interview with
  2 Department investigators, stating that he shared the photos for purposes of identifying
  3 the helicopter. This was false. In an interview with Department investigators, the
  4 officer to whom Versales sent the photos stated that he received them during the
  5 evening of January 26, 2020—long after the helicopter had been identified—and
  6 there was no reason for him to receive them.
  7                      The Los Angeles Times Reveals Additional
                         Details Regarding a Deputy’s Misconduct
  8
  9        68.    Although nowhere mentioned in the Department’s investigative report,
10 in November 2020 the Los Angeles Times reported that the Sheriff’s Department had
11 moved to discipline an unnamed deputy for broadly sharing photos of the victims’
12 remains on his personal cell phone. The reporting cited the Sheriff’s Department
13 disciplinary summary for the third quarter of 2020, which states that a deputy
14 “[s]tored confidential photographs of a multi-agency investigation on a personal
15 cellular phone, and shared the photographs with friends, family members, and
16 co-workers on multiple occasions.”
17 The Deputy Defendants Shared Photos of the Bryants’ Remains with Multiple
     People, Including Members of the Public, Without Any Legitimate Purpose
18
          69. As detailed above, each of the Deputy Defendants (i) showed a
19
   willingness to take and/or retain possession of photos of the Bryants’ remains on their
20
   personal cell phones without any legitimate governmental purpose; (ii) demonstrated
21
   a morbid curiosity in the photos; (iii) exhibited a willingness to share the photos with
22
   others, including through electronic transmission, without any legitimate
23
   governmental purpose; (iv) displayed consciousness of guilt by making false
24
   exculpatory statements regarding the photos; and (v) destroyed evidence of their
25
   possession and sharing of the photos despite an obligation to preserve it. Based on the
26
   foregoing, Plaintiff is informed and believes, and thereon alleges,Plaintiffs allege
27
   that—in addition to the specific instances of improper sharing detailed above—the
28

                                             - 27 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 72 of 87 Page ID
                                 #:38294



  1 Deputy Defendants each shared photos of the Bryants’ remains with multiple people,
  2 including members of the public, without any legitimate governmental purpose.
  3                      California Enacts a Criminal Law Against
                           Improper Photos of Human Remains
  4
  5        70.    In September 2020, responding to the Sheriff’s Department’s gratuitous
  6 taking and sharing of photos of the crash victims’ remains, the California state
  7 government enacted Assembly Bill 2655. See 2020 Cal. Stat. Ch. 219. Known
  8 informally as The Kobe Bryant Act of 2020, the law makes it a misdemeanor for a
  9 first responder, including a law enforcement officer, to photograph the remains of a
10 crime or accident victim “for any purpose other than an official law enforcement
11 purpose or a genuine public interest.” Cal. Pen. Code § 647.9(a), (c). As explained by
12 the California legislator who authored the new law, “[o]ur first responders, when
13 responding to an emergency, should not be taking very sensitive photographs . . . for
14 their own pleasure.”
15 Mrs. Bryant Has SufferedPlaintiffs’ Have and/or Will Suffer Severe Emotional
16                                         Distress
17         71.    Mrs. Bryant has suffered (and continues toPlaintiffs have and/or will
18 suffer) severe emotional distress from the knowledge that images of her husband’s
19 and daughter’stheir loved ones’ remains were taken and shared for the perverse
20 gratification of law enforcement officers, and sheMrs. Bryant fears that she and her
21 family may confront the appalling photos at any moment on the internet. This fear is
22 eminently reasonable in light of the prevalence of cloud storage (such as iCloud and
23 Google Photos), text messaging, and social-media applications, through which photos
24 can be stored and shared almost instantaneously (and sometimes inadvertently).
25 When Mrs. Bryant sought assurances from the Sheriff’s Department that it had taken
26 reasonable measures to control the spread of the photos, including whether it had
27 “confiscated and/or inspected the electronic devices of the personnel who had or have
28 photographs of the crash scene or victims’ remains,” the Department refused to offer

                                             - 28 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 73 of 87 Page ID
                                 #:38295



  1 any response whatsoever. And at no point has the Department taken even the basic
  2 investigatory step of collecting a forensic image of the offending individuals’
  3 electronic devices.
  4        72.    Mrs. Bryant’s fear has been exacerbated by the fact that, despite
  5 knowing about the photos within days of the crash, Sheriff Villanueva took none of
  6 the steps that a reasonable supervisor (let alone a highly-trained professional
  7 investigator) would take to prevent dissemination of harmful photos in his
  8 constructive possession. As a result of Sheriff Villanueva’s offer to his deputies that
  9 they could avoid investigation and discipline by deleting the evidence of their
10 misconduct, Mrs. Bryant must live with uncertainty regarding how many photos were
11 taken, whether they remain stored on the cloud, whether and how they were shared
12 via text message, email, or social media applications, and whether people to whom
13 the deputies transmitted the photos continue to possess them. Absent this
14 information, it is impossible to rule out that the photos will surface and go viral
15 online. This uncertainty has caused Mrs. Bryant severe stress and anguish.
16         73.    Mrs. Bryant’s anxiety has been reinforced by widespread discussion of
17 the photos online. In March 2020, Mrs. Bryant encountered an Instagram user who
18 stated that she had seen pictures of Kobe and Gianna’s bodies at the accident scene,
19 and numerous Twitter users made similar statements even before the Los Angeles
20 Times publicized that Department personnel had taken and shared improper photos of
21 the victims’ remains. Other online commenters, along with the National Enquirer
22 tabloid publication, have claimed that images of Kobe and Gianna’s remains are
23 being bought, shared, and/or sold on the dark web.
24         74.    These accounts are eminently plausible in light of the sheer number of
25 deputies who took and shared photos of the Bryants’ remains and the Department’s
26 grossly inadequate steps to prevent their dissemination. For the foreseeable future,
27 Mrs. Bryant and her family will almost certainly continue to encounter claims that
28

                                             - 29 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 74 of 87 Page ID
                                 #:38296



  1 photos of their loved ones’ remains are circulating online, and they will have no way
  2 of knowing whether such claims are true or false.
  3        75.   Avoiding thoughts of the Sheriff’s Departments’ misconduct has been
  4 impossible, as Mrs. Bryant is repeatedly reminded of it online. Online trolls have
  5 exploited the tragic circumstances and the Sheriff’s Department misconduct for the
  6 purpose of taunting and hurting Mrs. Bryant. These experiences provide a constant
  7 reminder that photos of her husband’s and daughter’s remains may be circulating in
  8 the public realm as a result of the Sheriff’s Department’s gross misconduct.
  9                     Mrs. Bryant Served a Notice of Claims in
                       Accordance with the Government Claims Act
10
11         76.   On May 8, 2020, pursuant to California Government Code section 900 et
12 seq., Mrs. Bryant filed a written notice of claims against the Sheriff’s Department,
13 Sheriff Villanueva, and unknown deputies, based on the same underlying facts and
14 issues alleged in this complaint. As of this filing, the County has not substantively
15 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when it
16 will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims within
17 the time prescribed by the California Government Code constitutes a denial, such that
18 Mrs. Bryant’s claims are ripe for review by this Court.
19         77.   On July 20, 2020, pursuant to California Government Code section 900
20 et seq., Mrs. Bryant filed a written notice of claims against the Fire Department and
21 unknown members of the Fire Department, based on the same underlying facts and
22 issues alleged in this complaint. As of this filing, the County has not substantively
23 responded to Mrs. Bryant’s notice of claim or provided a concrete timeline for when it
24 will respond. Per statute, the County’s failure to act on Mrs. Bryant’s claims within
25 the time prescribed by the California Government Code constitutes a denial, such that
26 Mrs. Bryant’s claims are ripe for review by this Court.
27
28

                                            - 30 -
                                 FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 75 of 87 Page ID
                                 #:38297



  1                               FIRST CAUSE OF ACTION
  2            42 U.S.C. § 1983 (Monell), Violation of Fourteenth Amendment
  3      (Against the Sheriff’s Department, the Fire Department, and the County)
  4
            78.    Plaintiff incorporatesPlaintiffs incorporate herein and reallegesreallege
  5
      the allegations in paragraphs 1 through 77, inclusive, as if fully set forth herein.
  6
            79.    By taking and sharing photos of Kobe and Gianna Bryants’ remains
  7
      without any legitimate governmental purpose, members of the Sheriff’s Department,
  8
      including but not limited to the Deputy Defendants, and members of the Fire
  9
      Department deprived PlaintiffPlaintiffs of hertheir substantive due process right to
10
      control the physical remains, memory, and death images of hertheir deceased husband
11
      and childfamily members. See Marsh v. Cnty. of San Diego, 680 F.3d 1148 (9th Cir.
12
      2012). In taking these actions, members of the Sheriff’s Department and Fire
13
      Department acted in a manner that shocks the conscience and offends the
14
      community's sense of fair play and decency.
15
            80.    Members of the Sheriff’s Department, including but not limited to the
16
      Deputy Defendants, and members of the Fire Department were acting under color of
17
      state law at the time of their actions. Sheriff’s and Fire Department personnel took
18
      photos of the Bryants’ remains while in uniform, on duty, and in an area where public
19
      access was prohibited and only first responders (such as Sheriff’s and Fire
20
      Department personnel) were allowed. After the photos were taken, Sheriff’s and Fire
21
      Department personnel possessed and shared them while in uniform and/or on duty, or
22
      otherwise in connection with or by virtue of their employment with the Sheriff’s or
23
      Fire Department.
24
            81.    Pursuant to 42 U.S.C. § 1983, public entities are liable for constitutional
25
      violations when execution of their official policy or custom deprives an individual of
26
      her constitutional rights. A public entity is also liable for constitutional violations
27
      when its failure to establish a policy or procedure or to properly train, supervise,
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                                                - 31 -
                                    FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 76 of 87 Page ID
                                 #:38298



  1 and/or discipline its employees amounts to deliberate indifference to the rights of
  2 persons with whom its employees come into contact.
  3         82.   The Sheriff’s Department, the Fire Department, and the County acted
  4 with deliberate indifference to the constitutional rights of PlaintiffPlaintiffs and others
  5 similarly situated through the conduct and omissions set forth above, which consist of
  6 the following customs, policies, and/or patterns of practice:
  7               a.     Failing to adequately train and supervise Sheriff’s Department
  8 and Fire Department personnel to ensure they do not take or share photographs of
  9 human remains without any legitimate governmental purpose;
10                b.     Failing to establish a policy or procedure addressing the treatment
11 of human remains, including the taking or sharing of photographs of human remains
12 without any legitimate governmental purpose;
13                c.     Failing to adequately investigate and discipline Sheriff’s
14 Department and Fire Department personnel who have taken and/or shared
15 photographs of human remains without any legitimate governmental purpose.
16          83.   Given the frequency with which Sheriff’s and Fire Department
17 personnel work at crime and accident scenes involving fatalities, it was obvious that
18 some would be tempted to take photos of victims’ remains on their personal cell
19 phones. Sheriff Alex Villanueva and the Sheriff’s Department knew that some law
20 enforcement officers keep “death books” containing photos of victims’ remains and
21 that officers taking pictures for non-law-enforcement purposes is a problem “across
22 the nation.” The Sheriff’s and Fire Departments were also aware that, on account of
23 the large number of celebrities that live or work in the Los Angeles area, their
24 personnel often work at accident and crime scenes that are the subject of intense
25 public interest. Notwithstanding this knowledge and awareness, the Sheriff’s
26 Department, the Fire Department, and the County failed to establish a policy
27 regarding photographs of human remains or to train, supervise, investigate, or
28

                                               - 32 -
                                    FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 77 of 87 Page ID
                                 #:38299



  1 discipline personnel related to the taking and sharing of photos of human remains
  2 without any legitimate governmental purpose.
  3         84.    Based on the facts set forth above, the Sheriff’s Department and Fire
  4 Department were on actual and/or constructive notice that the absence of a policy
  5 regarding photographs of human remains would likely result in violations of
  6 community members’ constitutional rights.
  7         85.    The actions of Sheriff’s Department and Fire Department personnel,
  8 including but not limited to the Deputy Defendants, reflect the pattern of practice
  9 and/or custom of the Sheriff’s Department and Fire Department, as evidenced by the
10 fact that the misconduct was not limited to a lone employee. Rather, multiple
11 members of the Sheriff’s Department and Fire Department took and shared photos of
12 the Bryants’ remains without any legitimate governmental purpose. In addition,
13 Sheriff Villanueva, whose entire career in law enforcement has been with the
14 Sheriff’s Department, has stated based on personal knowledge that unnecessary death
15 images are a widespread problem in law enforcement.
16          86.    As a direct and proximate result of the Sheriff’s Department’s, Fire
17 Department’s, and the County’s failure to establish a policy regarding photographs of
18 human remains or to train, supervise, investigate, or discipline its employees
19 regarding unnecessary death images, as well as the Sheriff’s and Fire Departments’
20 pattern of practice and/or custom of unnecessarily taking and sharing death images,
21 Plaintiff has suffered (and continues toPlaintiffs have and/or will suffer) severe
22 emotional distress in an amount to be proven at trial.
23                              SECOND CAUSE OF ACTION
24
                                            Negligence
25
                                (Against the Deputy Defendants)
26
            87.    Plaintiff incorporatesPlaintiffs incorporate herein and reallegesreallege
27
      the allegations in paragraphs 1 through 86, inclusive, as if fully set forth herein.
28

                                               - 33 -
                                    FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 78 of 87 Page ID
                                 #:38300



  1        88.    Pursuant to California Government Code section 820(a), public
  2 employees are liable for injuries caused by their acts or omissions to the same extent
  3 as a private person.
  4        89.    The Deputy Defendants owed a duty to PlaintiffPlaintiffs to use ordinary
  5 care in their treatment of the Bryants’ physical remains, including an obligation to
  6 refrain from taking and/or sharing images of them for personal, non-law-enforcement
  7 purposes. Cal. Civ. Code § 1714. The Deputy Defendants additionally owed a duty
  8 to PlaintiffPlaintiffs to use ordinary care in preventing dissemination of any images of
  9 the Bryants’ remains once the images were created and/or were within their
10 possession.
11         90.    The Deputy Defendants breached their duties to PlaintiffPlaintiffs by
12 sharing photos of the Bryants’ physical remains for personal, non-law-enforcement
13 purposes, including by electronic transmission and with members of the public.
14         91.    The Deputy Defendants foresaw or should have foreseen that their
15 conduct described above would injure PlaintiffPlaintiffs.
16         92.    As a direct and proximate result of the Deputy Defendants’ conduct,
17 Plaintiff has suffered (and continues toPlaintiffs have and/or will suffer) severe
18 emotional distress in an amount to be proven at trial.
19         93.    In committing the acts alleged herein, the Deputy Defendants are guilty
20 of oppression, fraud, and/or malice within the meaning of California Civil Code
21 section 3294, entitling PlaintiffPlaintiffs to punitive or exemplary damages in an
22 amount appropriate to punish the Doe Defendants and to make an example of them to
23 the community.
24                              THIRD CAUSE OF ACTION
25                                        Negligence
26                             (Against the Entity Defendants)
27         94.    Plaintiff incorporatesPlaintiffs incorporate herein and reallegesreallege
28 the allegations in paragraphs 1 through 93, inclusive, as if fully set forth herein.

                                             - 34 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 79 of 87 Page ID
                                 #:38301



  1        95.    Members of the Sheriff’s Department, including but not limited to the
  2 Deputy Defendants, and members of the Fire Department owed a duty to
  3 PlaintiffPlaintiffs to use ordinary care in their treatment of the Bryants’ physical
  4 remains, including an obligation to refrain from taking and/or sharing images of them
  5 for personal, non-law-enforcement purposes. Cal. Civ. Code § 1714. Members of the
  6 Sheriff’s Department, including but not limited to the Deputy Defendants, and
  7 members of the Fire Department also owed a duty to PlaintiffPlaintiffs to use ordinary
  8 care in preventing dissemination of any images of the Bryants’ remains once the
  9 images were created and/or were within their possession.
10         96.    Multiple members of the Sheriff’s Department, including but not limited
11 to the Deputy Defendants, breached their duties to PlaintiffPlaintiffs by taking and/or
12 sharing photos of the Bryants’ physical remains for personal, non-law-enforcement
13 purposes, including by electronic transmission and with members of the public.
14 These members of the Sheriff’s Department foresaw or should have foreseen that
15 their conduct would injure PlaintiffPlaintiffs.
16         97.    Similarly, multiple members of the Fire Department breached their
17 duties to PlaintiffPlaintiffs by taking and/or sharing photos of the Bryants’ physical
18 remains without any legitimate governmental purpose. These members of the Fire
19 Department foresaw or should have foreseen that their conduct would injure
20 PlaintiffPlaintiffs.
21         98.    As a direct and proximate result of the conduct described above, Plaintiff
22 has suffered (and continues toPlaintiffs have and/or will suffer) severe emotional
23 distress in an amount to be proven at trial.
24         99.    Pursuant to California Government Code section 815.2, the Sheriff’s
25 Department, the Fire Department, and the County are liable for injuries proximately
26 caused by acts or omissions of their employees within the scope of their employment.
27 At all times material, the Deputy Defendants and other members of the Sheriff’s
28 Department who took and/or shared photos of the Bryants’ remains for personal,

                                              - 35 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 80 of 87 Page ID
                                 #:38302



  1 non-law-enforcement purposes were employed by the Sheriff’s Department and were
  2 under the Department’s direction and control when they engaged in the conduct
  3 described above. Further, at all times material, members of the Fire Department who
  4 took and/or shared photos of the Bryants’ remains without any legitimate
  5 governmental purpose were employed by the Fire Department and were under the
  6 Fire Department’s direction and control when they engaged in the conduct described
  7 above. These members of the Sheriff’s and Fire Departments were able to take photos
  8 of the Bryants’ physical remains by virtue of their access to the crash site while on
  9 duty, and Sheriff’s and Fire Department personnel who shared the photos without any
10 legitimate purpose had access to them by virtue of their employment with the
11 Sheriff’s and Fire Departments, respectively. Hence, the actions described above
12 were taken within the course and scope of the individuals’ employment, and the
13 Sheriff’s Department, the Fire Department, and the County are liable for their
14 negligent and wrongful conduct.
15                             FOURTH CAUSE OF ACTION
16                                       Invasion of Privacy
17                                       (Against Joey Cruz)
18
           100. Plaintiff incorporatesPlaintiffs incorporate herein and reallegesreallege
19
     the allegations in paragraphs 1 through 99, inclusive, as if fully set forth herein.
20
           101. Plaintiff hasPlaintiffs have a privacy interest in the physical remains of
21
     hertheir loved ones, Kobe and Gianna Bryant.
22
           102. Upon information and believebelief, Defendant Joey Cruz disclosed
23
     photos of the Bryants’ remains to multiple members of the public, both in person and
24
     electronically.
25
           103. Sharing photos of accident victims’ physical remains without any
26
     legitimate governmental purpose is offensive and objectionable to a reasonable
27
     person of ordinary sensibilities.
28

                                                - 36 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 81 of 87 Page ID
                                 #:38303



  1        104. At the time Defendant Cruz shared the photos of the Bryants’ remains,
  2 no photos of their remains had otherwise been made public, and details about the state
  3 of the victims’ remains were not public knowledge. Sharing the graphic facts
  4 disclosed by the photos served no legitimate public purpose.
  5        105. As a direct and proximate result of the conduct of Defendant Cruz,
  6 Plaintiff has suffered (and continues toPlaintiffs have and/or will suffer) severe
  7 emotional distress in an amount to be proven at trial.
  8        106. Pursuant to California Government Code section 820(a), Deputy Cruz is
  9 liable for injuries caused by their acts or omissions to the same extent as a private
10 person.
11         107. In committing the acts alleged herein, Deputy Cruz is guilty of
12 oppression, fraud, and/or malice within the meaning of California Civil Code section
13 3294, entitling PlaintiffPlaintiffs to punitive or exemplary damages in an amount
14 appropriate to punish Defendant Cruz and to make an example of him to the
15 community.
16                              FIFTH CAUSE OF ACTION
17                                    Invasion of Privacy
18                             (Against the Entity Defendants)
19         108. Plaintiff incorporatesPlaintiffs incorporate herein and reallegesreallege
20 the allegations in paragraphs 1 through 107, inclusive, as if fully set forth herein.
21        109. Plaintiff hasPlaintiffs have a privacy interest in the physical remains of
22 hertheir loved ones, Kobe and Gianna Bryant.
23       110. Upon information and believebelief, members of the Sheriff’s
24 Department, including but not limited to the Deputy Defendants, disclosed photos of
25 the Bryants’ remains to multiple members of the public, both in person and
26 electronically.
27
28

                                              - 37 -
                                   FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 82 of 87 Page ID
                                 #:38304



  1        111. Sharing photos of accident victims’ physical remains without any
  2 legitimate governmental purpose is offensive and objectionable to a reasonable
  3 person of ordinary sensibilities.
  4        112. At the time that members of the Sheriff’s Department, including but not
  5 limited to the Deputy Defendants, shared the photos of the Bryants’ remains, no
  6 photos of their remains had otherwise been made public, and details about the state of
  7 the victims’ remains were not public knowledge. Sharing the graphic facts disclosed
  8 by the photos served no legitimate public purpose.
  9        113. As a direct and proximate result of members of the Sheriff’s Department
10 publicly disclosing photos of the Bryants’ remains without any legitimate
11 governmental purpose, Plaintiff has suffered (and continues toPlaintiffs have and/or
12 will suffer) severe emotional distress in an amount to be proven at trial.
13         114. Pursuant to California Government Code section 815.2, the Sheriff’s
14 Department and the County are liable for injuries proximately caused by acts or
15 omissions of their employees within the scope of their employment. At all times
16 material, the Deputy Defendants and other members of the Sheriff’s Department who
17 publicly disclosed photos of the Bryants’ remains were employed by the Sheriff’s
18 Department and were under the Department’s direction and control when they
19 engaged in the conduct described above. These members of the Department were
20 able to take photos of Kobe and Gianna Bryant’s physical remains by virtue of their
21 access to the crash site while on duty, and Sheriff’s Department personnel who shared
22 the photos had access to them by virtue of their employment with the Department.
23 The acts of these members of the Department were committed within the course and
24 scope of their employment, and the Sheriff’s Department and County are liable for
25 their negligent and wrongful conduct.
26
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                                             - 38 -
                                  FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 83 of 87 Page ID
                                 #:38305



  1                               PRAYER FOR RELIEF
  2        WHEREFORE, PlaintiffPlaintiffs respectfully prays for the following relief:
  3        1.    For compensatory damages in an amount to be proven at trial;
  4        2.    For any additional general, specific, consequential, or incidental
  5 damages in an amount to be proven at trial;
  6        3.    For nominal damages;
  7        4.    For punitive damages against the Deputy Defendants in an amount
  8 appropriate to punish them and make an example of them to the community;
  9        5.    For an award that Defendants pay all of PlaintiffPlaintiffs’s costs and
10 attorneys’ fees;
11         6.    For all interest, as permitted by law; and
12         7.    For such other relief as the Court deems just and proper.
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                                            - 39 -
                                 FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 84 of 87 Page ID
                                 #:38306



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    DATED: MarchFebruary 17, 2021 Respectfully submitted,
  2
    28, 2023
  3                               WILSON, SONSINI, GOODRICH & ROSATI
  4                               MUNGER, TOLLES & OLSON LLP
  5
  6
                                       By:                /s/ Luis Li
  7
                                                                LUIS LI
  8
                                       Attorneys for PlaintiffPlaintiffs Vanessa
  9
                                       Bryant, B.B., and C.B.
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                                          - 40 -
                               FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 85 of 87 Page ID
                                 #:38307



  1                           DEMAND FOR JURY TRIAL
  2       Plaintiff demandsPlaintiffs demand a trial by jury on all issues triable by jury.
  3
  4 DATED: MarchFebruary 17, 2021 Respectfully submitted,
    28, 2023
  5
                                  WILSON, SONSINI, GOODRICH & ROSATI
  6                               MUNGER, TOLLES & OLSON LLP
  7
  8
  9                                      By:                 /s/ Luis Li
                                                                   LUIS LI
10
11                                       Attorneys for PlaintiffPlaintiffs Vanessa
                                         Bryant, B.B., and C.B.
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                                                                   Case No. 2:20-cv-09582-JFW-E
                                 FIRSTSECOND AMENDED COMPLAINT
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 86 of 87 Page ID
                                 #:38308




   Document comparison by Workshare Compare on Monday, February 27, 2023
   11:00:10 PM
   Input:
                       file://C:\Users\lavoieca\Desktop\CURRENT DRAFT -- First
   Document 1 ID
                       Amended Complaint - Baseline for Redline.docx
                       CURRENT DRAFT -- First Amended Complaint - Baseline
   Description
                       for Redline
                       file://C:\Users\lavoieca\Desktop\First Amended Complaint
   Document 2 ID
                       with B.B. and C.B. Added.docx
   Description         First Amended Complaint with B.B. and C.B. Added
   Rendering set       MTO 1 (email)

   Legend:
   Insertion
   Deletion
   Moved from
   Moved to
   Style change
   Format change
   Moved deletion
   Inserted cell
   Deleted cell
   Moved cell
   Split/Merged cell
   Padding cell

   Statistics:
                                           Count
   Insertions                                94
   Deletions                                 91
   Moved from                                 0
   Moved to                                   0
   Style changes                              0
   Format changes                             0
   Total changes                             185
Case 2:20-cv-09582-JFW-E Document 487-1 Filed 02/28/23 Page 87 of 87 Page ID
                                 #:38309
